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FILED

DEC 06 2024

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF WESTERN TEXAS

Matthew J. Pease,

Case No.: a4 Cy- Sara

Plaintiff, COMPLAINT FOR
VIOLATIONS OF THE
V. FEDERAL SECURITIES
LAWS

SECURITIES & EXCHANGE COMMISSION,
FINANCIAL INDUSTRY REGULATORY JURY TRIAL DEMANDED
AUTHORITY, DEPOSITORY TRUST & CLEARING
CORPORATION, CHARLES SCHWAB & CO., INC.,
formerly TD AMERITRADE, GTS SECURITIES LLC,
EQUINITI TRUST COMPANY, formerly AMERICAN
STOCK TRANSFER & TRUST COMPANY, NEXT
BRIDGE HYDROCARBONS, INC., JOHN BRDA,
GREGORY MCCABE,

Defendants.

I. INTRODUCTION

1. This action arises from a far-reaching scheme of market manipulation, regulatory
negligence, breaches of fiduciary duties, and constitutional violations that collectively
undermined the integrity of U.S. financial markets. The Plaintiff, Matthew J. Pease, a retail
investor and eiavionsl in the field of Information Technology, brings this action to hold the
Defendants accountable for their roles in perpetuating systemic misconduct that caused
widespread financial harm. Through deceptive practices, improper trading mechanisms, and
unconstitutional regulatory structures, the Defendants created an environment that
disproportionately harmed retail investors while benefitting institutional participants.

a) At the heart of this case are the Non-Voting Series A Preferred Shares of Meta

Materials, Inc. (MMTLP), intended to represent private ownership in Next Bridge Hydrocarbons
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-(NBH) following a corporate spin-off. Instead of facilitating an orderly transition to private
ownership, market makers, broker-dealers, and regulatory entities manipulated MMTLP shares
through practices such as synthetic share creation and naked short selling. These practices
flooded the market with counterfeit shares, suppressed legitimate share prices, and deprived
shareholders of the true value of their investments. Regulatory entities, including FINRA, the
SEC, and the DTCC, failed to exercise their statutory oversight responsibilities, enabling these
abuses to persist unchecked.

b) A pivotal event in this scheme was FINRA’s issuance of a U3 trading halt on
December 9, 2022, which indefinitely froze trading in MMTLP shares. Citing an undefined
"extraordinary event," FINRA imposed the halt without providing transparency or resolution,
leaving tens of thousands of investors unable to access their assets. This action was not only
procedurally flawed but also unconstitutional. FINRA, a private self-regulatory organization,
exercised quasi-governmental powers without the oversight required by the separation of powers
doctrine, the Appointments Clause, and the private nondelegation doctrine. Recent decisions,
including Alpine Securities Corp. v. FINRA and SEC v. Sloan, provide critical legal authority
highlighting these constitutional and statutory deficiencies.

c) The systemic misconduct extends beyond FINRA’s governance flaws. Broker-dealers,
including Charles Schwab, and market makers such as GTS Securities, engaged in coordinated
efforts to manipulate the trading of MMTLP shares, profiting from artificial supply while retail
investors suffered financial losses. Vertically aligned regulatory bodies, including the SEC and
DTCC, neglected to enforce compliance, investigate irregularities, or resolve discrepancies in
shareholder accounts. These failures allowed market manipulation to flourish unchecked, in

violation of antitrust laws and federal securities statutes.

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d) Corporate leadership at Meta Materials, Torchlight Energy, and Next Bridge
Hydrocarbons also bear significant responsibility for failing to address trading irregularities,
reconcile shareholder discrepancies, or ensure accountability. Executives misled investors about
the financial prospects of their assets while neglecting the fiduciary duties owed to shareholders.
Their inaction compounded the harm caused by Defendants’ manipulative practices, further
destabilizing investor confidence and the integrity of the market.

e) The Plaintiff asserts that FINRA’s unilateral U3 halt and the inaction of other
regulatory bodies violated fundamental investor protections, statutory mandates, and
constitutional principles. The indefinite nature of the trading halt mirrors the statutory violations
identified in Sloan, where the Supreme Court-condemned the SEC for extending a trading halt
beyond the ten-day statutory limit without congressional authorization. Similarly, FINRA’s
unchecked powers, as scrutinized in Alpine, violate the constitutional principle that private
entities must remain subject to meaningful governmental oversight when wielding delegated
authority.

f) Despite nearly two years having passed since the U3 halt, no meaningful action has
been taken by Defendants to resolve these systemic failures or remedy investor harm. Retail
investors remain in financial and legal limbo, unable to trade their positions or reconcile share
discrepancies. This prolonged inaction has not only caused significant financial harm but also
underscored the vulnerabilities in the current market oversight framework. The disparity in
regulatory responses to the MMTLP and GameStop trading episodes further highlights the
inequities in the treatment of retail investors.

g) This case seeks to recover damages for the financial and emotional harm suffered by

the Plaintiff and to challenge the structural and constitutional flaws in FINRA’s governance. By

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addressing these systemic deficiencies, this Court has an opportunity to restore fairness and
transparency to U.S. financial markets, protect the rights of retail investors, and reinforce the
constitutional principles that govern regulatory authority, Such action is necessary to rectify the

failures that have jeopardized investor confidence and market integrity.

II. JURISDICTION AND VENUE

2. Jurisdiction is proper under 28 U.S.C. § 1331 as this action arises under federal law,
including violations of the Securities Exchange Act of 1934 (15 U.S.C. § 78), the Sherman
Antitrust Act (15 U.S.C. §§ 1-2), and the Clayton Act (15 U.S.C. §§ 12-27). Supplemental
jurisdiction over any related state law claims is proper under 28 U.S.C. § 1367.

3, Diversity jurisdiction is also proper under 28 U.S.C. § 1332(a) because the amount in
controversy exceeds $75,000, exclusive of interest and costs, and there is complete diversity of
citizenship between the Plaintiff, a resident of New Hampshire, and Defendants, whose principal
places of business are located in other states, including but not limited to Texas, New York, and
Washington, D.C.

4. Venue is appropriate in the United States District Court for the Western District of
Texas under 28 U.S.C. § 1391(b) because the Defendants conduct substantial business within
~ this District; and a substantial part of the events or omissions giving rise to the claims occurred
within this jurisdiction.

5. Despite nearly two years having passed since the U3 trading halt, none of the
regulatory or governance bodies responsible for ensuring the fair operation of markets—
including FINRA, the SEC, the DTCC, transfer agents, broker-dealers, market makers, and the

leadership of the involved publicly traded companies—have effectively resolved or remedied the

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resulting challenges. This failure has resulted in violations of federal securities and antitrust
- laws, causing significant financial harm to the Plaintiff.
6. The Defendants’ inaction, despite ample time and resources to investigate systemic
irregularities and take corrective action, underscores a failure to address synthetic shares,
unresolved trade settlements, improper account reconciliations, and the financial harm inflicted

on retail investors.

Ill. PARTIES

7. Plaintiff: Matthew J. Pease (hereinafter referred to as “Plaintiff” or “Pease”) has at all
times mentioned herein been a resident and citizen of the Town of Amherst, in the County of
Hillsborough, in the State of New Hampshire. He is a professional in the field of Information
Technology and a shareholder of Meta Materials and Next Bridge Hydrocarbons.

8. Defendant Securities and Exchange Commission (SEC): The Securities and Exchange
Commission (hereinafter "SEC") is the federal agency responsible for enforcing securities laws,
regulating the securities industry, and ensuring market integrity. The SEC is headquartered at
100 F Street NE, Washington, D.C., 20549.

9, Defendant Financial Industry Regulatory Authority (FINRA): The Financial Industry
Regulatory Authority (hereinafter "FINRA") is a self-regulatory organization authorized by the
Securities and Exchange Commission (SEC) to oversee and regulate broker-dealers and ensure
compliance with federal securities laws. FINRA is headquartered at 1735 K Street NW,
Washington, D.C., 20006.

10. Defendant Depository Trust & Clearing Corporation (DTCC): The Depository Trust

& Clearing Corporation (hereinafter "DTCC") is a financial services organization responsible for

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providing clearing, settlement, and information services for securities trading in the United
States. DTCC is headquartered at 55 Water Street, New York, New York, 10041.

11. Defendant Next Bridge Hydrocarbons, Inc. (NBH): Next Bridge Hydrocarbons, Inc.
(hereinafter “NBH”) was formed as part of the corporate spin-off from Meta Materials, Inc.,
intended to provide MMTLP shareholders with private ownership of its oil and gas assets. NBH
is a private oil and gas exploration, and development company incorporated in the State of
Nevada with its principal place of business located at 500 W. Texas Avenue, Suite 1020,

Midland, Texas, 79701.

12. Defendant Gregory McCabe: Gregory McCabe (hereinafter “McCabe”) is the CEO
and Chairman of Next Bridge Hydrocarbons (NBH) and the President of McCabe Petroleum

Corporation, located at 500 W. Texas Avenue, Suite 1020, Midland, Texas, 79701.

13, Defendant John Brda: John Brda (hereinafter “Brda”) is the former Chief Executive
Officer of Torchlight Energy Resources. Brda played a significant role in structuring the merger
between Torchlight Energy Resources and Meta Materials and in the subsequent creation of
MMTLP shares. The company’s last known address is 5700 W. Plano Parkway, Suite 3600,
Plano, Texas, 75093, Internet searches indicate current location at 1425 Frontenay Ct., St. Louis,
MO 63122.

14, Defendant GTS Securities: GTS Securities (hereinafter "GTS") is a market maker
operating on the New York Stock Exchange, headquartered at 545 Madison Avenue, 15th Floor,
New York, New York, 10022.

15, Defendant Charles Schwab & Co., Inc.: Charles Schwab & Co., Inc. (hereinafter
“Schwab”), headquartered at 3000 Schwab Way, Westlake, Texas, 76262, operates as a broker-

dealer and financial services provider.

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16. Defendant American Stock Transfer & Trust Company/Equiniti Group (AST/EQ):
American Stock Transfer & Trust Company, now Equiniti Group (hereinafter “AST/EQ”), is the
transfer agent responsible for managing the transition of MMTLP shares to Next Bridge
Hydrocarbons (NBH). AST/EQ is headquartered at 6201 15th Avenue, Brooklyn, New York,

11219.

IV. STATEMENT OF FACTS

17. John Brda is the former CEO of Torchlight Energy Resources and was instrumental
in the corporate merger with Metamaterial Technologies Inc., which resulted in the creation of
Meta Materials, Inc. Brda played a significant role in preparing for the spin-off of Next Bridge
Hydrocarbons and the registration of associated shares.

18. Clifton DuBose was the CEO of Next Bridge Hydrocarbons (NBH) during the
transition of MMTLP shares to private shares. He is also a partner at Lynch, Chappell & Alsup,
P.C., a law firm located in Midland, Texas. DuBose was positioned to facilitate the corporate
transition of NBH, a process critical to addressing shareholder concerns related to the spin-off
and the reconciliation of share discrepancies. He resigned this position in January of 2024.

19. Gregory McCabe is a corporate executive who held leadership roles within Torchlight
Energy Resources and later Next Bridge Hydrocarbons. As part of his responsibilities, McCabe
was involved in the valuation and management of NBH’s oil and gas properties during its spin-
off from Meta Materials, Inc., later he succeeded DuBose as the CEO of the company.

20. Jo Palmer serves as President and Chief Executive Officer of EQ U.S., the designated

transfer agent for Next Bridge Hydrocarbons. EQ U.S. is responsible for managing shareholder

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records and facilitating the issuance and reconciliation of shares, ensuring compliance with
corporate actions and regulatory requirements.

21. Ari Rubenstein, in his capacity as Chief Executive Officer of GTS Securities,
oversees operations at a market-making firm that facilitates liquidity and trading in financial
markets. GTS operates under regulatory frameworks designed to maintain orderly markets and
fulfill market maker responsibilities.

22. Rick Wurster, as President of The Charles Schwab Corporation, manages the
company’s operations, including those related to securities brokerage and customer account
services. Schwab, along with its subsidiary TD Ameritrade, provides brokerage services to retail
and institutional clients and participates in the clearing and settlement of securities trades.

23, Frank La Salla, in his official capacity as President and Chief Executive Officer of the
Depository Trust & Clearing Corporation (DTCC), manages the organization’s clearing and
settlement processes for securities trades. The DTCC plays a critical role in ensuring the accurate
recording and settlement of transactions across financial markets.

24. Robert W. Cook, in his official capacity as President and Chief Executive Officer of
the Financial Industry Regulatory Authority (FINRA), oversees the organization’s regulatory
functions, which include enforcing compliance with FINRA’s rules and promoting fair market
practices. Cook’s leadership aligns with FINRA’s mission to protect investors and maintain
market integrity.

25. Gary Gensler, in his official capacity as Chairman of the Securities and Exchange
Commission (SEC), is responsible for overseeing the agency’s enforcement of federal securities
laws. Under his leadership, the SEC monitors market practices and works to ensure transparency,

fairness, and compliance with securities regulations.

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26. On or about May 2, 2008, Pole Perfect Studios began filing as a private company
under Central Index Key (CIK) number 0001431959. Following its merger with Torchlight
Energy Resources on November 23, 2010, this CIK number transferred to Torchlight, making it
responsible for subsequent filings.

27. On June 28, 2021, Torchlight transferred its CIK to Meta Materials upon its merger.
The shared use of CIK number 0001431959 between Meta Materials and MMTLP constitutes a
potential violation of SEC regulations requiring distinct identifiers for separate entities.

28. Additionally, improper use of a CIK undermines the record-keeping and internal
control provisions under the Securities Exchange Act, which mandate precise tracking of
securities filings and transactions.

29. A CUSIP (Committee on Uniform Securities Identification Procedures) number is a
unique nine-character alphanumeric code assigned to financial securities in the United States and
Canada. It is used to uniquely identify securities such as stocks, bonds, and mutual funds,
facilitating accurate processing, clearing, and settlement of trades.

30. Additionally, CUSIP numbers simplify record-keeping and reduce transaction errors,
providing a reliable identifier for both investors and institutions.

31. Unlike Central Index Key (CIK) numbers, which identify entities filing with the SEC,
CUSIP numbers specifically identify individual financial securities, ensuring clarity and
accuracy in trading and tracking within financial markets.

32, From 2010 to 2020, Torchlight Energy Resources (TRCH) traded a cumulative total
of 745 million shares on public markets. This substantial trading volume reflected its decade-

long activity in the oil exploration sector and positioned it for the eventual merger with Meta

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Materials, Inc. The trading history highlights the scale of its operations and shareholder
engagement during this period.

33. On or about April 23, 2020, John Brda, then CEO of Torchlight Energy Resources
(TRCH), and Gregory McCabe, then Chairman of TRCH, made statements inflating the
valuation of the oil and gas properties that would later form NBH.

34, They announced that a third-party reserve estimate indicating a mean case of
approximately 3.678 billion barrels of oil equivalent (BOE) in recoverable reserves from
unconventional zones in the Orogrande Basin. This estimate was based on a petrophysical report
prepared by Stimulation Petrophysics Consulting.

35, Based on Brda and McCabe’s stated ‘probable reserve’ of 3.678 billion barrels of oil
at the Orogrande site and the 2019 average price of West Texas Intermediate (WTI) crude oil at
~ $56.99 per barrel, the perceived above-ground value of the asset was approximately $209.51
billion,

36. Using industry-standard valuations of 10-20% of the market price for oil in the
ground, the below-ground value ranged from approximately $20.96 billion to $41.92 billion,
reflecting the potential fair market value prior to extraction.

37. These statements, from NBH corporate officers and social media influencers
regarding the probable reserve inferred great expectations regarding NBH’s financial prospects
and were referenced consistently in shareholder discussions leading up to the MMTLP transition.

38. On March 1, 2020, Torchlight Energy presented an Investor Presentation via
PowerPoint or email to interested parties, emphasizing the company's focus on assets in the

Permian Basin, notably the Orogrande, Hazel, and Winkler projects.

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39. The Orogrande Project was identified as the flagship asset, comprising over 134,000
acres with a substantial recoverable resource potential estimated at 3.7 billion barrels of oil
equivalent in the median case.

40, The presentation underscored the project's potential to attract major industry players
for acquisitions or partnerships due to its size and resource estimates. While acknowledging
market risks, the company highlighted its belief in the presence of oil, framing the central
question as not whether oil exists but determining the exact quantity recoverable.

41. In June 2020, Brda, along with the members of Torchlight Energy Resources’ board
of directors, resolved to pursue a strategic initiative aimed at salvaging the company through a
merger with Meta Materials Inc., a corporation focused on advanced technological innovations.

_42. This merger was presented to shareholders as a critical measure to stabilize the.
company, with claims that it was necessitated by the pressing need to address an overwhelming
number of illegal short shares allegedly created in the market.

43. These short positions were portrayed as a significant threat to Torchlight's financial
stability, further justifying the urgency and strategic importance of the merger.

44, Shareholders were led to believe that this merger would provide a pathway to resolve
the systemic challenges posed by these short shares while transitioning the company toward a
future in high-tech innovation.

45, On December 14, 2020, Torchlight Energy Resources Inc. (TRCH), a Texas-based oil
exploration company, initiated a merger plan with Meta Materials Inc. (MMAT), a Canada-based
high-technology materials firm.

46. The merger aimed to combine TRCH’s oil and gas assets with MMAT’s advanced

materials technology to enhance shareholder value and diversify operations. This corporate

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action marked a pivotal shift for both companies, setting the foundation for the creation of Meta
Materials, Inc.

47. From January 1, 2021, to June 21, 2021, Torchlight Energy Resources (TRCH) traded
a total of 3.6 billion shares. This unprecedented trading volume occurred over just six months, a
significant increase compared to the company’s cumulative trading volume of 745 million shares
recorded over the prior decade, raising concerns about unusual trading activity.

48, A ‘Z-test’ statistical analysis was performed to evaluate the trading volumes of TRCH
using historical data from 2010 to 2020 and the first half of 2021 (analysis was conducted on
July 14, 2024).

49, The analysis considered an average daily variation of 5% over 10 years and
concluded that it was statistically impossible for 3.6 billion shares to have been traded in TRCH
during this six-month period without manipulation or an unpredictable, non-uniform event
influencing the market.

50. Upon information and belief, during the first six months of 2021, naked shorts were
added to TRCH by Ari Rubenstein, in concert with others. These actions likely contributed to the
anomalous trading volumes observed during this time, further indicating market manipulation.

51, On or about December 18, 2018, the Plaintiff, signed a self-directed broker agreement
with TD Ameritrade, and on or about November 3, 2024, with Charles Schwab following its
acquisition of TD Ameritrade. Both agreements include a mandatory arbitration clause in Section
10, requiring disputes to be resolved through arbitration, such as through FINRA, and waiving
the right to sue in court, including a jury trial, except as allowed by the arbitration forum's rules.

52. However, under the Clayton Act, Section 3 (15 U.S.C. § 14), and the Sherman

Antitrust Act, Sections 1 and 2 (15 U.S.C. §§ 1-2), such agreements may be rendered null and

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void when they are tied to or facilitate anticompetitive conduct, including monopolistic
behaviors that restrain trade or suppress competition.

53. In June 2021, GTS, under the direction of Ari Rubenstein, and Canaccord Genuity, a
Canadian market maker, jointly filed paperwork to register the "Series A Preferred Stock" for
trading on the Over-The-Counter (OTC) market for NASDAQ, without the authorization or
permission of MMAT or TRCH executives.

54, GTS and Canaccord relied on outdated, decade-old information in violation of
FINRA rules and submitted falsified Form 211 filings to facilitate the tradability of what would
later become MMTLP.

55. Ina letter dated June 21, 2021, the OCC explicitly stated that the "Series A Preferred
Shares" would not trade.

56. However, that letter informed options traders that they were not required to close out
short positions through the merger until what would become "MMTLP" could trade on the OTC
market. This directive directly contradicted the intentions and filings of the merged companies.

57. The OCC memorandum dated June 21, 2021, was exclusively shared with market.
makers and hedge funds, including GTS and Ari Rubenstein.

58. GTS, under the supervision of Ari Rubenstein, had a duty to record all-short sales,
including naked shorts, and was granted additional time to close out fails-to-deliver under the
"market maker exemption” rule.

59, Pursuant to FINRA Rule 204(b), market makers engaged in bona fide market-making
activities are provided exceptions allowing additional time to close out fails-to-deliver resulting

from such activities.

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60. However, they are also required to maintain daily records of their fails-to-deliver and
report them as necessary to ensure transparency and regulatory oversight.

61. The Depository Trust & Clearing Corporation (DTCC) is obligated to maintain
precise and comprehensive records of securities trades and ensure the efficient electronic
recovery and dissemination of information related to securities transactions within U.S. stock
markets, as part of its role in promoting transparency and regulatory compliance.

62. On June 28, 2021, the CIK number 0001431959 transitioned again when Torchlight
conducted a reverse takeover (RTO) with Meta Materials.

63. The shared use of CIK number 0001431959 between Meta Materials and MMTLP
constitutes a potential violation of SEC regulations requiring distinct identifiers for separate
entities.

64. Such actions could obscure transaction records and mislead investors, contravening
Rule 10b-5’s prohibition on deceptive practices in securities transactions.

65. During the merger of Torchlight Energy Resources and Metamaterial Technologies
Inc., Gregory McCabe, a key executive and shareholder, publicly underscored the significant
potential value of the Orogrande Basin oil and gas assets. He emphasized the probable oil
reserves and the presence of other unproven assets within the basin, drawing attention to its
strategic importance in the merger.

66. However, public filings and disclosures at the time valued the Orogrande Basin assets
at $47 million—an amount significantly lower than the estimated $20.96 billion to $41.92 billion

based on the below-ground valuation of probable reserves.

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67. Subsequent disclosures during the Next Bridge Hydrocarbons spin-off brought to
light notable discrepancies in these valuations, raising concerns about the accuracy and
transparency of the initial assessments.

68. On June 28, 2021, MMTLP shares were created during the spin-off in which TRCH
- transitioned specific assets into Next Bridge Hydrocarbons (NBH).

69. These shares, designated as “Preferred Stock Dividend,” were intended to represent
private ownership in NBH and were not meant to trade publicly.

70. On October 6, 2021, GTS Securities and Canaccord Genuity began trading MMTLP
“Series A Preferred” shares publicly.

71. This activity occurred despite directives in TRCH’s proxy statement, which
prohibited public trading of the Series A Preferred Shares.

72. Despite the regulatory requirement for independent CIKs, MMTLP began trading on
OTC markets on October 7, 2021, under the same CIK number 0001431959, as Pole Perfect,
then Torchlight, then Meta Materials, now MMTLP.

73. This use of a shared CIK raises questions of compliance with SEC filing rules,
including potential violations of Regulation S-T Rule 10(b) and Rule 10b-5.

74, On or about October 7, 2021, GTS Securities and Canaccord Genuity facilitated
public trading of MMTLP shares on the OTC market. These actions were not authorized by
TRCH or Meta Materials executives.

75. When John Brda, former CEO of Torchlight Energy, notified OTC Markets of this
unauthorized trading, OTC Markets directed him to FINRA. FINRA subsequently informed Brda
that he lacked standing to bring a formal complaint, as he was no longer the CEO. This

unauthorized listing initiated significant trading irregularities and confusion among investors.

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76, Upon information and belief, from October 7, 2021, to December 9, 2022, GTS
Securities engaged in trading activities that resulted in the creation of synthetic shares, exceeding
~ the authorized float of MMTLP shares.

77. Upon information and belief, between October 2021 and December 2022, GTS
Securities, under its market maker exemption, participated in trading activities involving
synthetic MMTLP shares. These shares were created without the required "locates," exceeding
the authorized float of legitimate shares.

78. Between October 1, 2022, and December 8, 2022, MMTLP stock experienced
significant volatility, with prices ranging from a low of $2.85 to a high of $12.50.

79. During this period, the market capitalization for MMTLP, a relatively unknown oil
and gas exploration company, fluctuated between approximately $1.5 billion and $6.5 billion.

80. Given the company's total authorized share count of 165.5 million, this level of
market capitalization and volatility suggests the potential influence of synthetic (rehypothecated)
shares or naked short selling.

81. Between November 15 and December 5, 2022, John Brda sold approximately
300,000 shares of MMTLP. During this period, the trading price of MMTLP ranged between
$2.90 and $9.90. Based on this price range, Brda’s transactions generated proceeds estimated
between $870,000 and $2,970,000.

82. Publicly available social media posts from this timeframe show that Brda encouraged
others to purchase MMTLP shares and denied selling any of his own shares.

83. Brda later acknowledged selling a portion of his holdings during the price increase

leading up to the FINRA-imposed U3 halt.

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84, On November 23, 2022, MMTLP shareholders were advised to transfer their shares to
the transfer agent, American Stock Transfer & Trust Company (AST), now operating as Equiniti
Trust Company, to facilitate the distribution of Next Bridge Hydrocarbons shares.

85. This transfer was intended to streamline the corporate action and ensure shareholders
received their Next Bridge shares directly.

86. Additionally, sharcholders were informed they would receive bonus shares of NBH
Newco as an incentive for transferring their shares to AST; however, these bonus shares were
never delivered, raising concerns about the representations made to shareholders.

87, On November 30, 2022, Gregory McCabe sold approximately 6.8 million shares of
MMTLP out of his total holdings of 18,758,249 shares, which constituted 11.37% of the float.
On that date, the trading price of MMTLP ranged between a low of $7.76 and a high of $10.00.

88. Based on this price range, McCabe’s transactions generated proceeds estimated
between $52,768,000 and $68,000,000. Under SEC rules regarding beneficial ownership,
McCabe was required to report these share transactions, as he held more than 5% of the float.

89. A series of emails obtained through a Freedom of Information Act (FOIA) request
and released in redacted form indicate that individuals at both the SEC and FINRA, on
December 5, 2022, including Mr. Sam Draddy, Ms. Patti Casimates, Mr. Richard Boyle, Mr. Jay
Gibbons, and an unidentified redacted individual, were aware of fraudulent activities affecting
the trading of MMAT and MMTLP shares.

90, These emails provide insight into regulatory awareness of irregularities during the

period leading up to the FINRA-imposed U3 halt.

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91. This also indicates that FINRA Blue Sheets, formally known as Electronic Blue Sheet
(EBS) data, which are reports submitted by broker-dealers to regulators such as FINRA and the
SEC, were being used as early as the date mentioned, if not earlier.

92. These reports contain detailed trade information, including the identity of the buyer
and seller, trade size, trade price, and other transaction-specific details. The purpose of Blue
Sheets is to assist regulators in monitoring the markets, detecting suspicious trading activity, and
investigating potential securities violations like market manipulation or insider trading.

93. Blue Sheets are crucial for ensuring transparency and accountability in the financial
markets, enabling regulators to reconstruct trading activity and identify patterns of misconduct.

94. On December 7, 2022, both FINRA and Meta Materials (MMAT) corporate
leadership confirmed the existence of an approved corporate action for MMTLP. According to
this action, no new trades could be executed after December 8, 2022, but shareholders could
settle positions, including short position close-only trades, through the end of trading on
December 12, 2022.

95. The corporate action further specified that MMTLP shares would be cancelled on
December 13, 2022, with a pay date for Next Bridge Hydrocarbons (NBH) shares or dividends
set for December 14, 2022.

96. On December 8, 2022, Jeff Mendl, Vice President of OTC Markets, stated on Trader
TV that MMTLP shares were approved to trade through December 12, 2022, as part of a
FINRA-approved corporate action. Mend! confirmed that MMTLP would no longer be available
to trade on the OTC market starting December 13, 2022, and that the shares were planned to be

deleted following that date.

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97, Also on December 8, 2022, FINRA failed to attend a scheduled meeting with the
Depository Trust & Clearing Corporation (DTCC) and attorneys from Meta Materials regarding
unresolved issues with the MMTLP corporate action.

98. Later that same day, FINRA issued a revised corporate action notice, altering the
language to state that "the symbol will be DELETED," replacing the prior notice indicating that
MMTLP shares would be "CANCELLED" upon conversion to Next Bridge Hydrocarbons -
shares.

99, This revision omitted the December 14, 2022, pay date, further confusing
shareholders and creating uncertainty about the transition process.

100. At the close of trading on December 8, 2022, deal-broker Level 2 data revealed that
short position holders in MMTLP utilized the 505 code (commonly referred to as S.0.8.),
signifying a heightened urgency to close their positions. The data reflected transaction prices
reaching and exceeding 100 times the closing price of $2.90 per share (1e., $290.00+), an
extraordinary deviation characteristic of a severe short squeeze.

101. Furthermore, after December 8, 2022, limit orders ranging from less than $100 to as
much as $200,000 per share were submitted through various brokerages but were marked as “too
late to cancel.” This indicated significant irregularities in the handling of MMTLP trades,
affecting more than 65,000 shareholders (Traudt v. Rubenstein, 2024, Docket No. 2:34-cv-782,
U.S. District Court for the District of Vermont).

102. Many MMTLP traders, including the Plaintiff, were holding their shares with the
intent to execute opportunity trades—to sell, rather than buy—on December 9 and 12, 2022.
They were prepared to accept the best possible offers for their trades before the close of all

trading on December 12, 2022, as specified in the approved corporate action referenced above.

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103. On December 9, 2022, FINRA imposed a U3 trading halt on MMTLP shares, prior
to market opening. As a self-regulatory organization operating under delegated authority from
the Securities and Exchange Commission, FINRA justified the halt by citing "extraordinary
circumstances." However, this action left many investors unable to access their investments, with
no clear resolution provided.

104. FINRA justified the trading halt with the following statement: “FINRA has
determined that an extraordinary event has occurred or is ongoing that has caused or has the
potential to cause significant uncertainty in the settlement and clearing process for shares of
MMTLP and that, therefore, halting trading and quoting in MMTLP is necessary to protect
investors and the public interest.”

105. In the same FINRA notice announcing the halt (UPC #35-22) dated December 9,
2022, FINRA further clarified that the trading halt would-remain in effect until the deletion of .
MMTLP, scheduled for December 13, 2022.

106. Any subsequent reference to the FINRA U3 halt, after December 13, 2022, is
acknowledged as accurate in form. However, for the purposes of this complaint, it is considered
a matter of semantics, as the halt was officially lifted by FINRA on December 13, 2022. Despite
this, no further action, remedy, or resolution has been undertaken as of December 4, 2024,
leaving the matter unresolved for a total of 726 days.

107. FINRA’s authority to issue such halts is derived from its statutory role under the
Securities Exchange Act of 1934, and the halt applied to securities trading across U.S. financial

markets.

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108, While the halt was ostensibly intended to address market irregularities, FINRA’s
structure as a private entity wielding quasi-governmental powers without direct executive
oversight raises questions under the separation of powers doctrine.

109. As a privately governed organization, FINRA’s Board of Governors is not appointed
by the President or subject to the checks and balances typically applied to federal agencies,
prompting constitutional considerations relevant to its governance and actions.

110. From its establishment as an SRO under the Maloney Act amendments to the
Securities Exchange Act of 1934, FINRA has exercised significant regulatory powers, including
the ability to enact rules, conduct investigations, and impose sanctions, functions typically
reserved for federal agencies.

111. These powers were evident during FINRA’s issuance of the U3 trading halt on
MMTLP shares on December 9, 2022, an action that had significant financial and legal
implications for investors.

112. However, FINRA’s governance by a private membership-based Board of Governors
raises structural questions about its authority to take such impactful actions. This board is neither
appointed by the President nor confirmed by the Senate, operating outside the framework
outlined in the Appointments Clause of the U.S. Constitution, which ensures accountability for
individuals wielding significant federal authority.

113. In the week after the FINRA U3 halt, Charles Schwab & Co. sent emails to MMTLP
shareholders, Ms. Gwendolyn Mickens and Mr. Anthony Erbacher, stating that, even if the U3
halt were resolved, Schwab would not permit shareholders to trade MMTLP shares.

114, Although NBH’s S-1 filings and amendments were approved in 2022, position-

close-only restrictions were not enforced for MMTLP shares before the U3 halt. These

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restrictions would have limited new short positions and helped stabilize the market during the
transition.

115. On February 6, 2023, Cromwell Coulson, President of OTC Markets, publicly
acknowledged via a tweet that short positions still existed in Next Bridge Hydrocarbons, despite
its status as a private company not intended for public trading.

116. Coulson further stated that resolving these short positions would be "easier if Next
Bridge shares became publicly tradable," implicitly highlighting the complications caused by
FINRA's trading halt of MMTLP shares and the unresolved discrepancies in share counts.

117. FINRA released its initial FAQ regarding the MMTLP corporate action and trading
halt on March 16, 2023, 97 days after the halt. The FAQ failed to clearly define the
‘extraordinary event' that justified the halt.

118. Despite receiving thousands of complaints from shareholders through Schwab,
FINRA, the SEC, and Congressional Representatives, this FAQ remained, to date, FINRA's only
significant communication with shareholders regarding the halt.

119. On February 20, 2023, Fleming, a TD Ameritrade (Schwab) employee, admitted
during a conversation with Traudt that the U3 halt of MMTLP trading on December 9, 2022, was
requested by broker-dealers to "protect ourselves," directly acknowledging institutional interests
rather than retail investor protection as the motive. (Traudt v. Rubenstein, 2024, Docket Number:
2:34-cv-782, United States District Court for the District of Vermont.)

120. This conversation, which was recorded by TD Ameritrade (TDA), later Schwab, was
initially made available for playback at Traudt’s request but was later denied (Traudt v.

Rubenstein, 2024).

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121. In March 2024, Traudt again sought access to these recordings from Schwab’s trade
desk, which had acquired TDA, but Schwab also refused to release the audio. These refusals
suggest a coordinated effort to suppress evidence that could reveal the reasons behind the trading
halt (Traudt v. Rubenstein, 2024).

122. On April 1, 2023, documents released through a Freedom of Information Act
(FOIA) request revealed that the SEC and FINRA were aware of trading irregularities related to
MMTLP as early as November 2021.

123. High-ranking officials, including SEC Chairman Gary Gensler and FINRA President
Robert W. Cook, were documented as having knowledge of these issues. Despite this, no
substantive action was taken to resolve these irregularities or inform the investing public, further
exacerbating market confusion and investor harm.

124. On April 18, 2023, Clifton DuBose, CEO of Next Bridge Hydrocarbons, sent a letter
to FINRA requesting assistance to address unresolved issues arising from the MMTLP spin-off,
asking for access to the Blue Sheets.

125. In the context of Meta Materials (MMAT) and its preferred shares (MMTLP), Blue
Sheets would provide critical insights into the trading activities during the period of alleged
market manipulation and synthetic share creation.

126. For example, during the two-day trading window for MMTLP in December 2022,
which ended with FINRA's U3 trading halt, Blue Sheets could reveal the number of trades
executed, the counterparties involved, and whether the transactions involved legitimate shares or
synthetic ones.

127. Given the allegations of naked short selling and the creation of synthetic shares,

regulators’ analysis of Blue Sheets could expose discrepancies in the total volume of shares

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traded versus the actual number of legitimate shares issued or prove all of these allegations
~ unfounded,

128. If regulators were to release Blue Sheets for MMAT and MMTLP, they could
uncover the extent of market irregularities alleged by retail investors and advocacy groups.

129, For instance, these sheets might highlight unusually high trade volumes that exceed
the total outstanding shares, corroborating claims of synthetic shares.

130. Furthermore, they could reveal whether broker-dealers and market makers engaged
in practices like failure-to-deliver (FTD) settlements or improper short selling, which may have
depressed the stock price or caused financial harm to shareholders.

131. The lack of Blue Sheet transparency in the MMTLP case has been a critical point of
contention for investors seeking clarity regarding the abrupt U3 trading halt and its impact on
their holdings.

132. The release of Blue Sheets for MMTLP and MMAT would provide a definitive
account of the trading activity, allowing allegations of irregularities, such as synthetic share
creation or naked short selling, to be substantiated or disproven.

133. Access to this data would not only clarify trading activity but could also serve as
evidence in legal or regulatory actions addressing potential misconduct. This transparency is
essential to restoring investor trust and ensuring accountability for any misconduct.

134. DuBose outlined concerns regarding outstanding short positions in Next Bridge
shares and the negative impact on investors caused by FINRA's actions, including the December
9, 2022, trading halt.

135. The letter also proposed a temporary trading period to facilitate the reconciliation of

shares and sought FINRA's cooperation in addressing discrepancies to maintain market integrity.

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136. FINRA did not concur with his recommendations nor provide any meaningful
remedy with their response letter on June 7, 2023.

137. On or about July 15, 2022, Next Bridge Hydrocarbons (NBH) received its own CIK
number, 0001936756, in preparation for its planned spin-off from MMTLP. This was the same
CIK used for Pole Perfect, then Torch Light, then Meta Materials, now NBH (while MMAT still
exists as a legal entity).

138. A supplemental FAQ was later published on November 6, 2023, 332 days after the
halt. This FAQ, like the initial one, failed to clearly define the 'extraordinary event’ that
warranted the halt.

139. Despite tens of thousands of complaints submitted by shareholders through Schwab,
FINRA, the SEC, and Congressional Representatives, this supplemental FAQ marked only the
second significant attempt by FINRA to communicate with shareholders about the halt.

140. To date, these two FAQs remain FINRA's only substantial communications with
shareholders regarding the trading halt.

141. On September 27, 2023, during a House Financial Services Committee hearing,
Representative Ralph Norman questioned SEC Chair Gary Gensler about MMTLP.

142, Norman inquired if Gensler was familiar with MMTLP and aware of its aggregate
share count as of December 8, 2022. Gensler acknowledged familiarity with MMTLP but stated
he did not know the specific share count, suggesting it might be publicly available.

143. Norman expressed dissatisfaction. with the SEC's responses and indicated plans to
send another letter seeking detailed information.

144, On December 22, 2023, Representative Ralph Norman led a letter to the Financial

Industry Regulatory Authority (FINRA) and the Securities and Exchange Commission (SEC)

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concerning Meta Materials Series A preferred shares (MMTLP). This letter was co-signed by
more than 70 members of Congress.

145, On January 15, 2024, NBH executives, including Clifton DuBose (CEO) and Luke
Hawkins (CFO), resigned without addressing shareholder concerns about unresolved trading
issues during the MMTLP-to-NBH transition. These resignations occurred during a period of
ongoing market uncertainty.

146. On June 5, 2024, over 40 Members of Congress, led by Representatives Ralph
Norman and Pete Sessions, sent a follow-up letter to SEC Chairman Gary Gensler. The letter
reiterated requests for an investigation into FINRA's December 9, 2022, U3 halt on MMTLP
shares and the subsequent unresolved trading discrepancies.

147. The letter emphasized that FINRA’s actions led to widespread investor harm and
confusion, with over 40,000 letters received from affected constituents. It called for
transparency, an independent audited share count, and a briefing on the SEC's findings.

148. After Meta Materials declared bankruptcy on August 9, 2024, its final filing under
this CIK occurred on September 20, 2024.

149. The Plaintiff has submitted a valid Statement of Interest with the U.S. Bankruptcy
Court for the District of Nevada, concerning MMATQ shares held as of December 4, 2024, via
Registered Mail.

150. On October 2, 2024, University Lands issued a formal termination letter to Hudspeth
Operating (HudOp), a subsidiary of Next Bridge Hydrocarbons (NBH), citing breaches of the
Development Unit Agreement (DUA) due to the non-payment of annual royalties and HudOp’s

refusal to fulfill its drilling obligations for the 2024 operational year.

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151. The termination letter also highlighted HudOp’s lack of any concrete plans for
future development of the Orogrande lease, further demonstrating its failure to meet the terms of
the agreement. University Lands demanded the release of the lease within 90 days and retained
the right to pursue legal remedies if HudOp failed to comply with its environmental
responsibilities, including plugging existing wells and remediating the land..

152. In response to the October 2, 2024, termination of the Orogrande lease, Gregory
McCabe, Chairman and CEO of Next Bridge Hydrocarbons, expressed disappointment with
University Lands’ decision, framing it as a setback for the company.

153. However, NBH has not taken any formal corporate measures to address the lease
termination, leaving shareholders questioning the company’s commitment to the Orogrande
project and its broader operational strategy. This lack of action has further fueled concerns about
NBH’s management and the viability of its core assets.

154. On November 15, 2024, the plaintiff, a shareholder of Next Bridge Hydrocarbons
(NBH), submitted a formal Request for Information (RFI) to NBH. The RFI raised critical
questions regarding corporate governance, the total sare count, discrepancies in share delivery,
and the resolution of potential naked short selling.

155. Despite the legal rights granted under Texas Business Organizations Code Section
21.218 and Nevada Revised Statutes Chapter 78.257, NBH failed to provide a comprehensive
response to the RFI within the 14-day deadline specified.

156. The RFI was sent by USPS Registered Mail to NBH’s registered address at 300
Ridglea Pl, Suite 950, Fort Worth, TX, 76116 on November 8, 2024: USPS records show only

that it was signed for.

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157. This lack of response obstructed the shareholder’s ability to assess management
practices and investigate discrepancies, raising concerns about transparency and adherence to
fiduciary obligations.

158. A formal Books and Records Check was demanded from McCabe and NBH on
November 19, 2024, by the Plaintiff, and seven other shareholders. This letter requesting lawful
shareholder access to records held by McCabe and NBH was officially served to McCabe at 500
W Texas Ave Ste 890, Midland, TX 79701.

159. The letter specifically sought explanations for the withdrawal of the SEC S-1 filing,
the termination of the University Lands lease, and the justification for a $2 million loan at above-
average interest rates.

160. To date, no response to the Books & Records check has been received from McCabe
or NBH.

161. On November 25, 2024, Next Bridge Hydrocarbons (NBH) issued an official
communication via investor relations email stating that the company had relocated its corporate
offices from 300 Ridglea Pl, Suite 950, Fort Worth, TX, 76116, to Midland, Texas, within the
_ offices of McCabe Petroleum Corporation (MPC) under a rent-free agreement.

162. The announcement omitted the full address of the new location and contradicted
existing public records, including NBH’s most recent SEC Form 10-Q filed on September 30,
2024, and its last EDGAR filing on October 8, 2024, which both listed the Fort Worth address as
its business location.

163. Additionally, USPS records continue to reflect the Fort Worth address, creating

confusion and undermining transparency regarding NBH's corporate headquarters.

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164. As of December 04, 2024, there is no publicly available information indicating that
Representative Ralph Norman's letter to the SEC and FINRA regarding MMTLP has led to any
significant regulatory actions or policy changes.

165. While the letter, co-signed by over 70 members of Congress, called for a
comprehensive review of the events surrounding MMTLP, the SEC and FINRA have not
publicly disclosed any substantial measures taken in response.

166. Throughout 2019 and 2022, the Depository Trust & Clearing Corporation (DTCC)
managed the clearing and settlement processes for TRCH, MMAT, and MMTLP trades.

167. Investor communications and related records from the period reflect discrepancies in
settlement obligations related to synthetic shares.

168. Throughout 2021, 2022, 2023 and 2024, regulatory bodies including FINRA, the
SEC, and the DTCC did not coordinate effectively to address market irregularities in TRCH,
MMAT, and MMTLP trading. This lack of coordination contributed to prolonged issues with
share reconciliation and investor harm.

169, From late 2022 through early 2023, AST/EQ, acting as the designated transfer agent,
managed the shareholder reconciliation process during the transition of MMTLP shares to Next
Bridge Hydrocarbons.

170. Shareholder records during this period reflected discrepancies in share counts, which
were left unresolved.

171. Throughout 2023 and 2024, shareholders with valid CUSIP records experienced
ongoing discrepancies in share reconciliation during the MMTLP-to-NBH transition. These

discrepancies remain unresolved, leaving some shareholders without clarity on their holdings.

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172. As of the present date, Next Bridge Hydrocarbons has not been assigned a CUSIP
number for its shares, leaving its securities without a standardized identifier for trading or
record-keeping purposes.

173. This absence creates challenges in identifying and managing transactions involving
Next Bridge Hydrocarbons’ common stock, complicating compliance with financial reporting
standards and market transparency.

174. The lack of a CUSIP number for Next Bridge Hydrocarbons highlights a gap in
ensuring the orderly trading and tracking of its securities within financial markets.

175. In fact, it has been well established that over 18 different internal CUSIPs are/ have
been used to track MMTLP holdings in various Broker/ Dealers; such as Robinhood,
TradeStation, E*Trade, JP Morgan, Fidelity, Vanguard, Interactive Brokers, among many others.

176. TD Ameritrade used internal CUSIP 6DA993019, and Charles Schwab uses internal
CUSIP 629999590 to track MMTLP shares that have not yet been converted to NBH through
the transfer agent AST/ EQ almost two years after the spin-off to NBH.

177. While the definitive number of outstanding shares still held by broker-dealers
through internal CUSIPs and not registered with AST/EQ is undetermined, even a single
unreconciled share highlights a significant issue.

178. Reports and social media posts featuring redacted brokerage statements indicate that
hundreds of individuals, collectively holding thousands of shares, remain affected. In total,
thousands, if not millions, of shares remain unreconciled more than two years after the spin-off,

irrespective of the FINRA-imposed U3 halt.

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179. The inability to reconcile all MMTLP shares to NBH shares, years later at AST/ EQ,
highlights a major gap in ensuring the orderly trading and tracking of its securities within
financial markets.

180. In January 2021, the Gamestop (GME) event unfolded as retail investors,
coordinated through social media platforms like Reddit’s WallStreetBets, initiated a short
squeeze targeting heavily shorted stocks. This led to Gamestop’s stock price surging over
1,000% within days.

181. Regulators, including the SEC, responded swiftly with public statements about
market volatility and integrity, and brokerages such as Robinhood imposed temporary trading
restrictions, citing liquidity concerns. These restrictions, while controversial, were quickly lifted,
allowing GME trading to resume.

182. Congressional hearings were convened within weeks, featuring testimony from
Robinhood executives, hedge funds, and retail advocates, while regulators pledged to investigate
systemic risks exposed by the volatility.

183. The Gamestop event ultimately received widespread media attention, immediate
regulatory acknowledgment, and a comprehensive examination of its impact on retail investors
and the broader market.

184. In stark contrast, the MMTLP event began on December 9, 2022, when FINRA
issued a sudden U3 trading halt on Meta Materials’ Series A Preferred Shares (MMTLP) just two
days before their planned transition into Next Bridge Hydrocarbons, a private company.

185. Unlike Gamestop, where trading resumed promptly after temporary restrictions, the
MMTLP trading halt has remained in effect for 725 days as of December 4, 2024. FINRA cited

an "extraordinary event" to justify the halt but failed to provide a detailed explanation at the time.

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186. The first communication regarding the halt came 97 days later, in March 2023,
through a FINRA FAQ that did not clarify the nature of the "extraordinary event." A
supplemental FAQ was issued 332 days after the halt but also failed to address key concerns,
including the allegations of synthetic shares or the systemic failures affecting retail investors.

187. Despite tens of thousands of complaints submitted to FINRA, the SEC, and
Congressional Representatives, no Congressional hearings or meaningful investigations have
taken place. Shareholders remain unable to trade their positions, and MMTLP investors continue
to face financial harm with no clear recourse.

188. Unlike Gamestop, which received immediate regulatory scrutiny and resumed
trading, MMTLP investors have endured prolonged inaction and a lack of accountability,
highlighting significant disparities in how the two events were addressed.

189. In contrast, the GameStop trading episode and the NBH Fiasco highlights significant
disparities in the public and governmental engagement with market regulation issues, prompting
questions about the consistency and fairness of responses to events affecting retail investors and
market integrity.

190. Institutional market participants, including broker-dealers and market makers,
profited from the creation and trading of synthetic shares during the MMTLP transition. Retail
investors, however, experienced significant financial losses as a result of these trading practices.

191. These institutional participants stand to make considerable profits by not closing
their short positions, particularly when synthetic shares or naked short selling is used as a trading
tactic. If Next Bridge Hydrocarbons (NBH) were to declare bankruptcy, all shares would become
worthless, relieving short sellers of all financial liabilities, regardless of the FINRA-imposed U3

halt.

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192. Public records and shareholder complaints from 2023 and 2024 indicate systemic
delays in resolving trading discrepancies related to MMTLP shares. Retail investors were left
without a clear resolution or recourse for their financial losses.

193. The prolonged inaction by regulatory bodies, over the last two years, combined with
unresolved trading irregularities, has contributed to diminished trust in the transparency and
fairness of U.S. financial markets. Retail investors remain uncertain about the status of their
holdings and future resolutions.

194, Institutional market participants engaged in trading practices involving synthetic
MMTLP shares that created an oversupply in the market. This artificial oversupply contributed
to the suppression of legitimate share prices.

195. Retail investors have experienced ongoing difficulties in accessing their investments
in MMTLP shares following the U3 halt. The lack of liquidity has resulted in prolonged financial
uncertainty and loss. .

i196. To date, FINRA has refused all attempts to provide access to the Blue Sheet records
for MMAT and MMTLP, despite repeated requests from shareholders, legal and government
representatives, or advocacy groups seeking transparency regarding trading activity.

197. This lack of disclosure has obstructed efforts to investigate allegations of naked
short selling, synthetic share creation, and market manipulation during the trading periods in
question. Specifically, Blue Sheet data is critical to understanding the abrupt and unprecedented
U3 trading halt of MMTLP shares on December 9, 2022, and whether such actions were

influenced by irregular or unlawful trading practices.

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198. FINRA’s refusal to release these records has exacerbated the financial and
emotional harm suffered by retail investors and has raised significant concerns about regulatory
accountability and oversight in safeguarding market integrity.

199. Shareholders have repeatedly requested audits of MMTLP share discrepancies to
distinguish legitimate shares from synthetic ones. To date, no comprehensive audit has been
conducted, leaving unresolved questions about the status of outstanding shares.

200. Synthetic share creation and trading irregularities during the MMTLP-to-NBH
transition have contributed to financial harm for retail investors. These actions have highlighted
vulnerabilities in market oversight, transparency, and enforcement.

201. The U3 halt and the prolonged lack of resolution for investors highlight the potential
concerns stemming from FINRA’s privately governed structure, as it may bypass safeguards
designed to promote transparency and oversight.

202. FINRA’s authority over market participants, particularly in cases of disciplinary or
enforcement actions like the trading halt, underscores its substantial role in securities regulation
and the constitutional considerations of its accountability and governance.

203. Questions regarding FINRA’s constitutional role have been articulated in legal
principles, particularly those involving the nondelegation doctrine, and are highly relevant to its
handling of the MMTLP U3 trading halt issued on December 9, 2022.

204. This doctrine restricts Congress from delegating legislative powers without clear and
specific guidance, yet FINRA operates with broad authority to create rules, enforce them, and

adjudicate disputes, including halting trading activities that significantly impact investors.

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205. Concerns arise as to whether FINRA’s sweeping powers align with Article I of the
U.S. Constitution, given its private governance structure and the lack of intelligible principles
guiding its regulatory actions.

206. The application of these delegated powers during the U3 halt-—where investors were
left without access to their assets or meaningful resolution for nearly two years—exemplifies the
constitutional considerations surrounding FINRA’s role.

207. The nondelegation doctrine underscores the importance of ensuring that quasi-
governmental entities like FINRA operate with accountability and within constitutionally defined
limits, particularly in situations where their actions impose significant and lasting consequences
on market participants.

208. Throughout the MMTLP-to-NBH transition, regulatory bodies have deflected
responsibility for addressing trading irregularities, leaving investors without a resolution for two
years. The lack of clear accountability has prolonged market instability and shareholder

uncertainty.

Vz ALLEGATIONS

209. The Plaintiff, Matthew J. Pease, has brought this action to address systemic failures
in the U.S. financial markets that have harmed retail investors through a combination of
regulatory negligence, manipulative practices, and constitutional violations. At the center of this
case lies FINRA’s indefinite U3 trading halt on MMTLP shares, which deprived investors of
access to their assets without adequate explanation or resolution. This halt exemplifies the
unchecked powers of a self-regulatory organization operating without sufficient oversight,

raising constitutional concerns under the separation of powers, the Appointments Clause, and the

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private nondelegation doctrine. Recent legal precedents, including SEC v. Sloan and Alpine
Securities Corp. v. FINRA, underscore the statutory and constitutional violations inherent in
FINRA’s actions.

210. FINRA’s structural deficiencies are compounded by the failures of other regulatory
entities, including the SEC and the DTCC, to fulfill their statutory duties to protect investors and
ensure market integrity. These organizations failed to investigate or remedy widespread
irregularities such as synthetic share creation and naked short selling, which manipulated the ©
market for MMTLP shares. The Defendants’ inaction enabled institutional participants to profit
at the expense of retail investors, further undermining confidence in the fairness and
transparency of the markets.

211. The Plaintiff also seeks to highlight the role of corporate leadership at Meta
Materials, Torchlight Energy, and Next Bridge Hydrocarbons, whose failures to address trading
irregularities, reconcile shareholder discrepancies, and ensure accountability exacerbated the
harm suffered by investors. These leaders neglected their fiduciary duties, misrepresented the.
financial prospects of their assets, and allowed discrepancies in share reconciliation to persist,
leaving shareholders in a prolonged state of uncertainty and financial distress.

212. The harm caused by these systemic failures is both significant and ongoing. Retail
investors have been denied the ability to trade their shares, reconcile their holdings, or recover
their investments, while institutional participants who engaged in manipulative practices remain
unaccountable. The constitutional and statutory violations identified in this case are emblematic
of broader governance flaws in the financial markets, which must be addressed to protect

investors and maintain public confidence in the integrity of the system.

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213. In light of these failures, the Plaintiff seeks declaratory and injunctive relief to
restore fairness and transparency to the markets. This includes addressing FINRA’s
unconstitutional governance structure, enforcing statutory limits on trading halts as articulated in
Sloan, and ensuring that private entities acting under delegated authority are subject to

meaningful government-oversight, as emphasized in Alpine. These steps are necessary to rectify

_ the systemic issues that have caused lasting harm to retail investors.

214. This case also demands accountability for the Defendants’ violations of federal
securities laws, antitrust statutes, and fiduciary obligations. The Plaintiff requests compensatory
and punitive damages to redress the financial and emotional harm suffered, as well as systemic
reforms to prevent future market abuses. The harms detailed herein are not isolated incidents but
indicative of systemic vulnerabilities that require judicial intervention to safeguard the rights of
all investors.

215. The prolonged inaction of regulatory bodies in addressing the U3 halt and related
market irregularities stands in stark contrast to the swift responses seen in other market events,
such as the GameStop trading episode. This disparity highlights the need for equitable treatment
of retail investors and a consistent application of regulatory oversight to uphold market integrity.
Without such reforms, the systemic failures described in this case will continue to jeopardize
public trust in the financial markets.

216. In-bringing this action, the Plaintiff seeks not only to recover damages but also to
hold the Defendants accountable for their roles in enabling a scheme of market manipulation,
systemic negligence, and constitutional violations. By addressing these issues, this Court has the

opportunity to restore fairness and transparency to the financial markets, reaffirm the

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constitutional principles that govern regulatory authority, and protect the rights of investors
whose trust in the system has been profoundly eroded.

217. The following legal and factual questions arise from the Plaintiff's claims and are
critical to determining liability, damages, and appropriate relief in this matter:

a) Whether Defendants violated the Securities Exchange Act of 1934 and other
applicable federal securities laws, particularly by failing to maintain market integrity, allowing
manipulative practices such as the creation and trading of synthetic shares, and neglecting their
statutory duties to protect investors.

b) Whether Defendants engaged in anticompetitive conduct or market
manipulation in violation of the Sherman Antitrust Act and the Clayton Act, fostering a
monopolistic and exploitative environment detrimental to retail investors.

c) Whether FINRA’s issuance of the U3 halt on December 9, 2022, was justified
under applicable laws and regulations, and whether FINRA, SEC, and DTCC demonstrated the
requisite diligence and transparency in resolving the trading halt and its consequences.

d) Whether the SEC, FINRA, and DTCC failed to fulfill their regulatory
responsibilities by supervising one another, enforcing compliance with federal securities laws,
and investigating and addressing synthetic share discrepancies during the MMTLP-to-NBH
transition.

e) Whether FINRA’s governance structure, as a private self-regulatory
organization exercising significant quasi-governmental authority without sufficient oversight,
violated constitutional principles, including the separation of powers, the Appointments Clause,

and the private nondelegation doctrine.

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f) Whether the Private Securities Litigation Reform Act of 1995 (PSLRA)
unconstitutionally obstructs retail investors, such as the Plaintiff, from pursuing securities fraud
claims by imposing heightened pleading standards and discovery stays that deny access to
critical evidence, thereby preventing the resolution of claims related to systemic market
manipulation, such as the proliferation of synthetic shares and the FINRA-imposed U3 halt on
MMTLP.

g) Whether GTS Securities and other market participants violated their legal
obligations by engaging in manipulative trading practices, including naked short selling,
synthetic share creation, and other actions that suppressed legitimate share prices and
exacerbated harm to retail investors.

h) Whether broker-dealers, including Charles Schwab, breached fiduciary duties
owed to retail investors by facilitating trading irregularities, profiting from the proliferation of
synthetic shares, and failing to reconcile oversold positions, despite their statutory obligation to
safeguard customer securities and funds.

i) Whether AST/EQ and the DTCC failed to accurately reconcile synthetic shares
and legitimate beneficial ownership during the MMTLP-to-NBH transition, leaving retail
investors in financial and legal uncertainty.

j) Whether Torchlight Energy, Meta Materials, and Next Bridge Hydrocarbons
corporate leadership were aware of widespread trading irregularities, including synthetic share
discrepancies, and whether their failure to act contributed to prolonged harm to shareholders.

k) Whether FINRA, SEC, and DTCC demonstrated negligence, incompetence, or

apathy by failing to investigate and resolve market irregularities, discrepancies in share counts,

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and systemic failures to reconcile shareholder accounts, thereby fostering an environment of
regulatory inaction and prolonged harm to retail investors. :

1) Whether FINRA and other regulatory bodies acted beyond their statutory and
procedural authority by imposing the U3 halt without providing transparent and timely
justification, violating the principles articulated in SEC v. Sloan and other applicable precedents.

m) Whether the lack of coordination and communication between the SEC,
FINRA, and DTCC directly contributed to unresolved discrepancies in MMTLP and NBH
shares, leaving investors without clarity, resolution, or access to their assets.

n) Whether retail investors, including the Plaintiff, suffered a violation of their
due process rights due to the lack of clarity, transparency, and recourse options provided during
and after the U3 trading halt, and whether such deficiencies warrant compensatory, injunctive,
and punitive relief.

0) Whether Defendants failed to disclose material information (¢.g., trading
irregularities, synthetic share creation, or share discrepancies) that would have informed
investors, mitigated harm, and preserved market confidence.

p) Whether institutional market participants, including market makers and broker-
dealers, engaged in unjust enrichment by profiting from trading irregularities, exploiting
synthetic shares and naked short positions, and avoiding financial liabilities at the expense of
retail investors.

q) Whether FINRA, SEC, DTCC, and associated broker-dealers violated investor
protection laws by failing to address systemic vulnerabilities and permitting irregularities that

undermined market transparency and fairness.

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tr) Whether retail investors, including the Plaintiff, are entitled to compensatory
and punitive damages, injunctive relief, and systemic reforms to address the financial and
emotional harm suffered due to the Defendants’ collective misconduct.

s) Whether Defendants’ failures, omissions, and alleged misconduct reflect
broader systemic flaws in the regulatory framework governing the securities markets,
necessitating judicial intervention to safeguard market integrity and protect the rights of retail
investors.

t) Whether the refusal to disclose critical trading data, such as Blue Sheets,
impeded investors’ ability to investigate claims of market manipulation and reconcile
outstanding share discrepancies, further exacerbating financial harm.

u) Whether retail investors were disproportionately harmed compared to
institutional participants, who avoided liabilities and profited from systemic market irregularities,

creating an inequitable environment in violation of federal securities and antitrust laws.

COUNT IL:

Violation of the Securities Exchange Act of 1934 (15 U.S.C. § 78) — Against All Defendants

218. Defendants violated Section 10(b) of the Securities Exchange Act (15 U.S.C. 8
78}(b)) and Rule 10b-5 (17 C.F.R. § 240.10b-5) by engaging in manipulative practices, including
the proliferation of synthetic shares, creation of artificial supply, and failureto ensure market _

transparency.

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219, Defendants further violated Section 9(a) (15 U.S.C. § 78i(a)) by manipulating the
price of MMTLP shares through artificial trading conditions, including naked short selling and

synthetic share creation, designed to suppress share value and harm retail investors.

220. FINRA, SEC, DTCC, and AST/EQ violated Section 17(a) (15 U.S.C. § 78q(a)) by
failing to maintain accurate records and ensure market transparency during the MMTLP-to-NBH
transition. Their negligence in reconciling discrepancies in share ownership allowed systemic

irregularities to persist.

221. Corporate Defendants, including Torchlight Energy, Meta Materials, and Next
Bridge Hydrocarbons leadership, violated Section 13(d) (15 U.S.C. § 78m(d)) by failing to
disclose material information regarding beneficial ownership and discrepancies in outstanding

shares.

222. Defendants violated Rule 13b2-2 (17 C.F.R. § 240.13b2-2) by making false or
misleading statements to auditors or failing to maintain accurate financial records related to

MMTLP share discrepancies.

Violation of the Sherman Antitrust Act (15 U.S.C. §§ 1-2) and Clayton Act (15 U.S.C. 8§
12-27) — Against All Defendants

223. Defendants violated Section 1 of the Sherman Act (15 U.S.C. § 1) by colluding to
facilitate synthetic share creation, naked short selling, and other anti-competitive practices that

suppressed competition and harmed retail investors.

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224. GTS Securities and other market participants violated Section 2 of the Sherman Act
(15 U.S.C. § 2) by seeking to monopolize trading activity in MMTLP shares, engaging in

predatory practices to gain control over supply and demand dynamics.

225. Regulatory bodies, including FINRA, SEC, and DTCC, violated Section 7 of the
Clayton Act (15 U.S.C. § 18) by failing to prevent concentrated market power and anti-

competitive acquisitions.

226. Defendants collectively violated Section 4 of the Clayton Act (15 U.S.C. § 15),

which provides for recovery of damages resulting from anti-competitive actions.

COUNT IL:

Negligence — Against All Defendants

227. FINRA, SEC, and DTCC violated Section 15A(b)(6) (15 U.S.C. § 780-3(b)(6)) by
failing to prevent manipulative practices and maintain orderly markets. Their inaction regarding

synthetic share creation and trading irregularities enabled systemic harm.

228. AST/EQ, acting as the designated transfer agent, violated Section 17A(c)(1) (15
U.S.C. § 78q-1(c)(1)) by failing to reconcile share discrepancies during the MMTLP-to-NBH

transition, leaving retail investors in legal and financial limbo.

229, Defendants collectively breached their duty of reasonable care (Restatement
(Second) of Torts § 283), resulting in foreseeable and avoidable harm to retail investors,

including the Plaintiff.

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230. Charles Schwab violated Rule 15c3-3 (17 C.F.R. § 240.15c3-3) by failing to

safeguard customer securities, reconcile oversold positions, and conduct trading in good faith.
COUNT IV:

Failure to Resolve the FINRA U3 Halt — Against FINRA, SEC, and DTCC

231. FINRA, SEC, and DTCC violated Section 17A(a)(1) (15 U.S.C. § 78q-1(a)(1)) by
failing to resolve the U3 halt in a timely and transparent manner, depriving shareholders of

access to their investments.

232. FINRA’s issuance of the U3 halt violated its obligations under Section 19(c) (15

U.S.C. § 78s(c)) and Section 6(b)(5) (15 U.S.C. § 78f(b)(5)) to maintain fair and equitable

trading standards.

233. The SEC and FINRA failed to enforce prompt resolution of the U3 halt, violating

their statutory duties under Section 15A(b)(6) (15 U.S.C. § 780-3(b)(6)).

COUNT V:

Unjust Enrichment — Against All Defendants

234, Defendants violated Rule 10b-5 (17 C.F.R. § 240.10b-5) and Section 29(b) (15

U.S.C. § 78cc(b)) by profiting from illegal contracts involving synthetic shares and oversold

positions.

235, Institutional market participants unjustly enriched themselves at the expense of retail

investors by manipulating trading conditions to benefit from suppressed share prices.

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COUNT VI:

Breach of Fiduciary Duty — Against Charles Schwab and AST/EQ

236. Charles Schwab and AST/EQ violated their fiduciary duties under Section 36(a) of
the Investment Company Act (15 U.S.C. § 80a-35(a)) by failing to act in the best interests of

their clients during the MMTLP-to-NBH transition.

237. Charles Schwab violated Rule 15c3-3 (17 C.F.R. § 240.15c3-3) by failing to protect

customer funds and securities from systemic discrepancies.

238. AST/EQ violated Section 17A(c)(1) (15 U.S.C. § 78q-1(c)C1)) by neglecting its

responsibility to reconcile share ownership and ensure accurate records.
COUNT VIL:

Conspiracy to Commit Fraud — Against All Defendants

239, Defendants violated Section 10(b) (15 U.S.C. § 78j(b)) and Rule 10b-5 (17 C.F.R. §
240.10b-5) by conspiring to manipulate securities markets through synthetic share creation and

suppressing MMTLP’s value.

240. Defendants violated 18 U.S.C. § 371 by conspiring to defraud the U.S. government
and regulatory systems, as well as 18 U.S.C. § 1349 by engaging in a scheme to commit wire and

securities fraud.

COUNT VII:

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Failure to Supervise — Against FINRA and SEC

241. FINRA and SEC violated Section 15(b)(4)(E) (15 U.S.C. § 780(b)(4)(E)) by failing
to supervise broker-dealers and market makers adequately, enabling manipulative practices like

synthetic share creation.

242, Defendants also violated Rule 15c3-5 (17 C.F.R. § 240.15c3-5) by failing to

establish adequate controls to monitor market access and prevent trading abuses.

COUNT IX:

Emotional Distress (Negligent or Intentional Infliction) — Against All Defendants

243. Defendants’ reckless disregard for foreseeable harm caused emotional distress to
Plaintiff, violating their obligations under Section 15A(b)(6) (15 U.S.C. § 780-3(b)(6)) to protect

investors.

244, Defendants acted with intentional or reckless disregard for the emotional and

financial toll of the U3 halt and systemic irregularities, directly causing harm.

COUNT X:

Breach of Contract and Anticipatory Breach — Against Charles Schwab

245. Charles Schwab violated its contractual obligations to Plaintiff by failing to execute
trades, reconcile share discrepancies, and provide accurate account information during the
MMTLP-to-NBH transition, as required under Rule 15c3-3 (17 C.F.R. § 240.15c3-3) and U.C.C.

§ 8-505, which mandate the protection of customer funds and securities.

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246, Schwab breached its implied covenant of good faith and fair dealing, inherent in its
brokerage agreements with the Plaintiff, by refusing to take corrective action to address share
discrepancies and by allowing systemic irregularities to persist.

247. Schwab further committed anticipatory breach of its contractual obligations by

issuing emails and statements to customers indicating that, regardless of FINRA’s resolution of

- the U3 halt, MMTLP would never trade again at Schwab. This unequivocal repudiation of its

duty to comply with any potential market resolutions or reinstatement of trading rights
constitutes an anticipatory breach, undermining Plaintiff's rights under the brokerage agreement.
248. As a direct result of Schwab’s breaches, Plaintiff and other retail investors suffered
significant financial harm, including the inability to trade or recover the value of their MMTLP
investments, and incurred emotional distress due to prolonged financial uncertainty.

Defendant Inclusion Summary

249, The following Defendants, through their actions, omissions, negligence,
incompetence, or intentional misconduct, contributed to systemic market failures, suppressed
retail investor rights, and enabled manipulative and anticompetitive practices. Their collective
conduct resulted in violations of federal securities laws, breaches of fiduciary duty, unjust
enrichment, and significant financial and emotional harm to the Plaintiff. While the specific roles

of each Defendant are detailed throughout this Complaint, the Defendants share culpability for

creating and sustaining the conditions that led to these violations:

250. FINRA, SEC, and DTCC: These regulatory entities are included in Counts I, I, UE,
IV, VIL, and VIII for their collective failure to fulfill statutory oversight responsibilities under
federal securities laws. Their negligence enabled the proliferation of synthetic shares, naked

short selling, and systemic market manipulation. FINRA’s issuance of the indefinite U3 halt,

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without timely resolution or transparency, further violated its obligations under Sections 17A and
19 of the Securities Exchange Act. The SEC and DTCC compounded the harm by failing to
enforce compliance with clearing and settlement standards, leaving retail investors in financial
and legal limbo.

251. GTS Securities: Included in Counts I, II, V, and VII for engaging in naked short
selling, creating synthetic shares, and manipulating market dynamics. GTS exploited regulatory
exemptions to gain monopolistic control over trading activity in MMTILP shares, profiting from
suppressed share prices to the detriment of retail investors.

952. Charles Schwab: Included in Counts I, III, V, VI, [X, and X for breaching its
fiduciary and contractual obligations to safeguard customer securities, reconcile oversold
positions, and execute trades in good faith. Schwab’s anticipatory breach of its brokerage
agreements, through explicit communications stating that MMTLP would never trade again
regardless of FINRA’s resolution, demonstrates a blatant disregard for its clients' rights and
financial well-being.

253. AST/EQ (Equiniti): Included in Counts I, III, IV, V, and VI for failing to reconcile
synthetic shares with legitimate beneficial ownership during the MMTLP-to-NBH transition.
AST/EQ’s failure to provide accurate records and resolve discrepancies violated statutory
obligations under Section 17A(c)(1) of the Securities Exchange Act, contributing to systemic
harm for shareholders.

254. Torchlight Energy, Meta Materials, and Next Bridge Hydrocarbons Leadership:
Included in Counts I, III, V, and VII for their roles in perpetuating trading irregularities and

synthetic share proliferation. Corporate executives, including Gregory McCabe and John Brda,

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knowingly made misleading public statements about the value of Orogrande Basin assets and
failed to address discrepancies in MMTLP shares, exacerbating harm to retail investors.

255. Corporate Leadership and Market Participants: The specific acts of recklessness,
negligence, and intentional misconduct by the leadership of the named entities, as outlined in the
Acts of Scienter, underscore their collective culpability. Their roles in enabling synthetic share
creation, engaging in naked short selling, and manipulating market conditions directly
contributed to the harm suffered by the Plaintiff and other retail investors.

256. By their actions and omissions, all Defendants have demonstrated a pattern of
negligence, misconduct, and disregard for their statutory and fiduciary duties. Their collective
conduct has undermined market integrity, suppressed retail investor rights, and violated federal
- securities, antitrust, and consumer protection laws.

257. Specific Acts of Scienter as Defined Under the Private Securities Litigation Reform
Act of 1995 (PSLRA) and Federal Rule of Civil Procedure 9(b):

a) FINRA (Leadership under Robert W. Cook)

i, Reckless issuance of the U3 halt (December 9, 2022): FINRA imposed
_ an indefinite halt on MMTLP trading without adequate investigation or justification, despite
knowledge of synthetic share proliferation and trading irregularities.

ii. Failure to resolve the U3 halt: FINRA neglected its statutory obligation
to resolve the halt in a transparent and timely manner, violating Section 19(c) of the Securities
Exchange Act and causing prolonged financial harm to investors.

iii. Intentional inaction despite awareness: Despite documented evidence
and public complaints about synthetic shares, FINRA failed to conduct meaningful investigations

or enforce compliance with federal securities laws.

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iv. Omission of material facts in public communications: FINRA misled
the market by failing to disclose the reasons for the U3 halt or the steps necessary to resolve the
trading discrepancies.

b) SEC (Leadership under Gary Gensler)

i. Failure to enforce compliance with federal securities laws: The SEC
neglected its oversight duties by failing to investigate or address systemic market
irregularities, including synthetic share creation and naked short selling.

ii. Complicity in FINRA’s inaction: The SEC allowed FINRA’s U3 halt to
persist indefinitely without requiring transparency or resolution, violating its statutory
responsibilities under Sections 15A and 17A of the Securities Exchange Act.

iii. Neglect of investor protection responsibilities: Despite knowledge of
investor harm caused by synthetic shares, the SEC failed to act in a manner consistent
with its mission to protect retail investors.

iv. Deliberate regulatory apathy: The SEC’s lack of intervention, despite
its authority and duty to supervise FINRA and the DTCC, indicates intentional disregard
for systemic failures.

c) DTCC (Leadership under Frank La Salla)

i. Failure to enforce settlement standards: The DTCC permitted unresolved
fails-to-deliver and synthetic shares to proliferate, violating Section 17A(a)(1) of the
Securities Exchange Act.

ii. Neglect of reconciliation duties: Despite its role as a clearing agency,
the DTCC failed to reconcile outstanding shares, leaving retail investors in financial

limbo during the MMTLP-to-NBH transition.

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iii. Omission of material discrepancies: The DTCC did not disclose known
settlement issues or irregularities, allowing manipulative practices to persist.

iv. Facilitation of manipulative trading practices: By failing to enforce
proper clearing and settlement standards, the DTCC knowingly enabled the creation and
trading of synthetic shares.

d) GTS Securities (Leadership under Ari Rubenstein)

i. Naked short selling: GTS Securities engaged in illegal naked short
selling, flooding the market with synthetic shares and suppressing the price of MMTLP
stock.

ii. Manipulation of supply and demand: GTS intentionally created
artificial trading conditions to benefit from suppressed share prices, directly harming
retail investors.

iii. Exploitation of regulatory exemptions: GTS used loopholes and
exemptions in trading regulations to evade accountability for its manipulative practices.

iv. Profiteering from synthetic shares: GTS knowingly profited from
trading synthetic shares while concealing its role in market manipulation.

e) Charles Schwab (Leadership under Rick Wurster)

i. Trading of synthetic shares: Schwab knowingly facilitated the trading of
counterfeit shares, failing to reconcile oversold positions despite documented
discrepancies.

ii. Anticipatory breach of contract: Schwab explicitly informed clients that
MMTLP would not trade again, regardless of FINRA’s resolution, demonstrating intent

to avoid its obligations under brokerage agreements.

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iii. Neglect of fiduciary duties: Schwab failed to safeguard customer
securities and funds, violating Rule 15c3-3 and fiduciary standards.

iv. Failure to address customer complaints: Despite investor concerns and
complaints about trading irregularities, Schwab intentionally ignored its obligation to act
in its clients’ best interests.

f) AST/EQ (Leadership under Jo Palmer)

i. Failure to reconcile shares during the MMTLP-to-NBH transition:
AST/EQ neglected its duties as a transfer agent by failing to provide accurate ownership
records, violating Section 17A(c)(1).

ii. Omission of material information: AST/EQ failed to disclose share
discrepancies-or conduct due diligence, leaving shareholders in financial uncertainty.

iii, Neglect of due diligence responsibilities: Despite its role as the
designated transfer agent, AST/EQ did not investigate or address irregularities in the
reconciliation process.

iv. Facilitation of synthetic share persistence: By failing to provide
accurate records, AST/EQ contributed to the systemic harm caused by synthetic shares.

g) Torchlight Energy, Meta Materials, and Next Bridge Hydrocarbons Leadership

(John Brda, George Palikaras, Gregory McCabe respectively)

i. Misrepresentation of asset valuations: Upon information and belief,
Gregory McCabe knowingly overstated the valuation of Orogrande Basin assets to inflate

shareholder expectations and attract investments.

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ii. Encouraging trading despite irregularities: John Brda encouraged buy
orders for MMTLP shares while offloading his own holdings during periods of trading
irregularities.

iii. Failure to address trading irregularities: Both McCabe and Brda
neglected their fiduciary responsibilities to investigate and resolve synthetic share
discrepancies, despite awareness of the harm caused to retail investors.

iv. Misleading shareholders: Public communications from leadership
failed to disclose critical information about trading irregularities, share discrepancies, and
synthetic share creation, misleading investors about the true state of their holdings.

Action for Declaratory Judgment & Injunctive Relief #1

Finding the Private Securities Litigation Reform Act 15 u.s.c. § 78u-4

Unconstitutional As Applied
lst ISSUE: SEPARATION OF POWERS

258. Plaintiff incorporates by reference all preceding paragraphs, including FACTS 1
through 219, and asserts that the Private Securities Litigation Reform Act of 1995 (PSLRA) is
unconstitutional as applied to this case. The PSLRA’s restrictive provisions exacerbate the
systemic injustices suffered by Plaintiff and other retail investors, necessitating its invalidation
and an injunction against its continued enforcement.

259, The PSLRA infringes upon the separation of powers doctrine by imposing
heightened pleading standards and discovery stays that impede the judiciary’s ability to
adjudicate securities fraud cases effectively. In the context of the MMTLP trading halt, these
restrictions prevent retail investors from holding FINRA, the SEC, and market participants

accountable for fraudulent conduct and systemic failures. By legislatively dictating procedural

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and evidentiary burdens that obstruct access to justice, the PSLRA undermines the judiciary’s
inherent authority to manage litigation and resolve disputes, constituting an impermissible

legislative intrusion into judicial functions.

IND ISSUE: VIOLATIONS OF THE 1ST, 4TH, AND 15TH AMENDMENTS

260. Plaintiff incorporates by reference all preceding paragraphs.

~ 261. The PSLRA’s-stringent pleading requirements violate the First Amendment by
chilling access to the courts. In this case, the requirement to plead fraud with particularity places
an insurmountable burden on retail investors seeking to challenge the systemic manipulation of
MMTLP shares, including synthetic share creation and naked short selling. These manipulative
practices are concealed within the operations of broker-dealers, clearinghouses, and regulators,
~ making critical evidence inaccessible to Plaintiffs without discovery. The PSLRA effectively
denies investors their right to petition the government for redress of grievances, a core First
Amendment guarantee.

262. The PSLRA violates the Equal Protection Clause of the Fifth Amendment by
disproportionately burdening small retail investors while shielding institutional actors from
accountability. In this case, the Act prevents Plaintiff from pursuing claims against FINRA, the
SEC, DTCC, and market participants who profited from systemic manipulation. By insulating
powerful financial entities, such as broker-dealers and market makers, from scrutiny, the PSLRA
creates a two-tiered system of justice that favors well-resourced defendants at the expense of
individual investors.

263. The PSLRA contravenes the Due Process Clause of the Fifth Amendment by
effectively denying Plaintiffs the opportunity to prove their claims. Its stay of discovery

provisions prevent access to essential evidence—such as FINRA’s decision-making process for

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the U3 halt and the DTCC’s reconciliation records for synthetic shares—while simultaneously
imposing heightened pleading standards. This procedural Catch-22 deprives investors of their
right to a meaningful opportunity to be heard, a fundamental due process guarantee.

264. The PSLRA violates the Equal Protection Clause of the Fourteenth Amendment as it
applies to state-law securities fraud claims. By preempting state-law remedies and imposing
restrictive federal standards, the PSLRA limits access to justice for investors pursuing claims in
state forums. This. unequal treatment creates a de facto preference for corporate defendants,
particularly broker-dealers and market makers, in violation of the Constitution’s guarantee of
equal protection under the law.

265. The PSLRA’s safe harbor provision for forward-looking statements is particularly
relevant to this case, as it incentivizes corporate malfeasance. Defendants, including market
makers and corporate leadership, were shielded by this provision despite engaging in misleading
conduct, such as misrepresenting the value of MMTLP shares and suppressing shareholder
access through the U3 halt. This legislative overreach disrupts the balance between investor
protection and corporate accountability, directly undermining the goals of federal securities laws.

266. The PSLRA’s legislative history demonstrates significant lobbying influence by
industry groups, further evidencing regulatory capture. The Act’s provisions favor institutional
actors, such as those responsible for the manipulation of MMTLP shares, while denying retail
investors a fair opportunity to pursue their claims. This systemic bias prioritizes the interests of
financial entities over the public interest, violating principles of fairness and trust in the
regulatory framework.

267. The PSLRA’s impact on judicial economy is evident in this case. Its procedural

barriers require Plaintiffs to meet heightened pleading standards based on incomplete

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information, increasing the likelihood of piecemeal litigation and interlocutory appeals. Courts
are forced to adjudicate motions to dismiss without a full evidentiary record, leading to
inefficiencies that undermine the objectives of federal procedural rules.

268. The PSLRA’s limitations on joint and several liability exacerbate the harm caused
by Defendants’ collusive conduct. In this case, multiple market participants—including broker-
dealers, FINRA, and the DT[CC—acted in concert to manipulate MMTLP shares and suppress
retail investor rights. By restricting liability to a proportional basis, the PSLRA shields culpable
entities from full accountability and leaves victims inadequately compensated for their losses.

"WHEREFORE:

269. For the reasons stated above, Plaintiff seeks:

a) Declaratory Relief: A judicial declaration that the PSLRA is unconstitutional as
applied in this case. Its provisions conflict with fundamental constitutional principles,
including separation of powers, due process, and equal protection, and undermine the
rights of retail investors harmed by systemic market manipulation.

b) Injunctive Relief: An injunction prohibiting the enforcement of the PSLRA’s
provisions, including heightened pleading standards, discovery stays, and safe harbor
protections, in this case and others involving systemic manipulation and regulatory
failures.

c) Restoration of Judicial Authority: An order affirming the judiciary’s inherent
authority to manage securities litigation without undue legislative interference, ensuring
that investors retain access to justice and a meaningful opportunity to hold Defendants

accountable.

Action for Declaratory Judgement & Injunctive Relief #2

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Constitutional Challenge to the Structure and Authority of the Financial Industry

Regulatory Authority FINRA

270. The Plaintiff hereby challenges the constitutional authority and corporate structure
of the Financial Industry Regulatory Authority (FINRA) on three grounds: separation of powers,
the Appointments Clause, and unconstitutional delegation of legislative power. FINRA wields
significant executive authority—such as suspending trading, enforcing securities laws, and
imposing sanctions—without presidential oversight, violating the President’s Article II duties. Its
Board of Governors, exercising substantial authority under U.S. law, are appointed by FINRA’s
members rather than through constitutionally required processes under the Appointments Clause.
Furthermore, the SEC’s delegation of broad regulatory powers to FINRA represents an
unconstitutional transfer of legislative authority to an entity outside the legislative branch,
compounding the constitutional concerns surrounding its governance and operations.

Allegation 1: Violation of the Separation of Powers

271. Plaintiff alleges that the Financial Industry Regulatory Authority (FINRA) operates
in violation of the separation of powers doctrine established by the United States Constitution.
Under Article II, Section 1, all executive power is vested in the President of the United States,
and under Article II, Section 3, the President is tasked with ensuring that the laws are faithfully
executed. These provisions centralize executive authority and require that any entity exercising
executive powers must remain accountable to the President.

a) FINRA exercises significant executive powers, including suspending trading in
securities, enforcing compliance with the Securities Exchange Act of 1934 (15 U.S.C. § 78),
conducting investigations, enacting rules, and imposing sanctions. However, FINRA operates

independently of presidential oversight. Its Board of Governors is not appointed or removable by

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the President but instead selected by its private membership. Even the Securities and Exchange
Commission (SEC), which oversees FINRA to a limited degree, can only remove FINRA’s
Board of Governors for willful violations of the law, abuse of authority, or unjustified failure to
enforce regulations (15 U.S.C. § 78s(h)(4)(B)). This limited oversight underscores FINRA’s
insulation from presidential control.

b) In Free Enterprise Fund v. Public Company Accounting Oversight Board, 561
U.S. 477 (2010), the Supreme Court held that entities exercising significant executive authority
must remain accountable to the President to preserve the separation of powers. Like the Public
Company Accounting Oversight Board (PCAOB) in that case, FINRA wields executive power
without sufficient accountability to the executive branch. This lack of accountability undermines
the constitutional framework and impermissibly impedes the President’s ability to fulfill their
constitutional duties under Article IL.

c) Therefore, FINRA’s structure, which grants it significant executive powers
while shielding it from presidential oversight, violates the separation of powers doctrine and the
constitutional design for ensuring accountability in the exercise of governmental authority.

Allegation 2: Violation of the Appointments Clause

272, Plaintiff alleges that the structure and appointment process of the Financial Industry
Regulatory Authority (FINRA) violate the Appointments Clause of the United States
Constitution, which governs the selection of officers who exercise significant authority under
federal law. Article II, Section 2, Clause 2 of the Constitution requires that principal officers of
the United States be appointed by the President with the advice and consent of the Senate.
Alternatively, Congress may vest the appointment of inferior officers in the President alone,

courts of law, or heads of departments.

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a) FINRA’s Board of Governors wields substantial authority under federal law,
including the power to enact rules, enforce securities regulations, conduct disciplinary
proceedings, and impose sanctions, These functions qualify its Board members as “officers of
the United States” under the criteria established in Buckley v. Valeo, 424 U.S. | (1976), which
defined officers as individuals exercising significant authority under U.S. law. Despite this,
FINRA’s Board is not appointed by the President, nor is it confirmed by the Senate. Instead,
Board members are selected by FINRA’s private membership, bypassing the constitutional
process for appointing officers.

b) This appointment process violates the Appointments Clause. Under Free
Enterprise Fund v. Public Company Accounting Oversight Board, 561 US. 477 (2010), and
Edmond v. United States, 520 U.S. 651 (1997), officers exercising significant independent
authority under federal law must be appointed in conformity with Article II. The Supreme Court
has emphasized that the Appointments Clause is essential for maintaining accountability and
separation of powers by ensuring that officers of the United States are appointed through
constitutionally mandated procedures.

c) Furthermore, if members of FINRA’s Board are deemed inferior officers, their
appointments must still comply with the Appointments Clause. They must be appointed by the
President, courts of law, or the head of a department. Since FINRA’s private membership does
not constitute a “department” under Article II, its process for appointing Board members remains
unconstitutional, even if Board members are classified as inferior officers.

d) Accordingly, the selection of FINRA’s Board of Governors by its membership
violates the Appointments Clause of the United States Constitution and undermines the

accountability required for individuals exercising significant authority under federal law.

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Allegation 3: Unconstitutional Delegation of Legislative Authority

273. Plaintiff alleges that the delegation of broad regulatory and rulemaking authority to
the Financial Industry Regulatory Authority (FINRA) violates the nondelegation doctrine
enshrined in Article I, Section 1 of the United States Constitution, which vests all legislative
powers in Congress. This doctrine prohibits Congress from delegating its legislative authority to
any entity, particularly private organizations or entities outside the legislative branch, without
clear and specific guidance. -

a) Under the Securities Exchange Act of 1934 (15 U.S.C. § 780-3(b)), Congress
authorized the SEC to delegate significant rulemaking, enforcement, and disciplinary powers to
FINRA. These powers include the ability to draft and enforce securities regulations, conduct
- investigations, impose sanctions, and govern the conduct of broker-dealers. However, Congress
provided only minimal guidance regarding the scope and limits of these powers, effectively
granting FINRA quasi-legislative authority to create and enforce securities laws.

b) The delegation is further problematic because FINRA operates as a private,
self-regulatory organization rather than a public entity directly accountable to the federal
government. Unlike public agencies, FINRA lacks the safeguards of political accountability
inherent in entities operating within the constitutional structure. In A.L.A. Schechter Poultry
Corp. v. United States, 295 U.S. 495 (1935), the Supreme Court invalidated a delegation of
legislative authority to a private industry group, holding that Congress cannot abdicate its
legislative responsibilities or allow private entities to govern in the absence of clear legislative
standards. Similarly, in J.W. Hampton, Jr., & Co. v. United States, 276 U.S. 394 (1928), the

Court held that any delegation of legislative authority must include an “intelligible principle” to

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guide its exercise. Congress’s delegation to FINRA fails this test by granting it sweeping,
unsupervised authority with few meaningful constraints.

c) If FINRA is deemed part of the federal government, the delegation remains
unconstitutional because it transfers legislative powers to an executive body without sufficient
limitations, violating the separation of powers. If FINRA is considered a private entity, the
delegation is even more constitutionally suspect because it grants quasi-legislative powers to a
body entirely outside the constitutional framework.

d) Therefore, the SEC’s delegation of legislative authority to FINRA violates the
nondelegation doctrine and impermissibly allows a private, quasi-governmental entity to exercise

- powers reserved for Congress under Article I of the Constitution.

‘ Supplemental Authority from Alpine Securities Corp. v. FINRA

274. On November 22, 2024, the DC Circuit Court of Appeals issued’a pivotal decision
in Alpine Securities Corp. v. Financial Industry Regulatory Authority and United States of
America, Case No. 1:23-cv-01506. This decision provides substantial support for Plaintiff's
claims, particularly regarding the U3 trading halt issued by FINRA.

Summary of Alpine Decision

275, The DC Circuit ruled that FINRA’s expulsion orders violated the private
nondelegation doctrine because they took effect immediately without SEC oversight. The court
held that private entities like FINRA must act only as an aid to accountable government agencies
that retain ultimate authority to approve or disapprove the private entity’s actions. The lack of

such oversight rendered FINRA’s actions unconstitutional.

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276, In Alpine, the court emphasized: The irreparable harm caused by FINRA’s actions,
including financial ruin and the destruction of Alpine’s business before full SEC review and the
balance of equities and public interest in ensuring fair regulatory processes.

Applicability to Plaintiff’s Case

277. The reasoning in Alpine is directly applicable to this case. The U3 trading halt
issued by FINRA on December 09, 2022 was similarly imposed without any prior validation or
review by the SEC. This mirrors the unconstitutional delegation of authority identified in Alpine
and resulted in irreparable harm to Plaintiff.

278. As in Alpine, injunctive relief is the only adequate remedy to prevent further harm
and to restore the integrity of the market. Plaintiff respectfully requests this Court to issue relief
consistent with Alpine, mandating a resumption of trading in MMTLP to allow the market to
function properly and enable Plaintiff and other investors to close their positions.

Supplemental Authority from SEC v. Sloan |

279. In SEC v. Sloan, 436 U.S. 103 (1978), the U.S. Supreme Court addressed the
legality of trading halts implemented by the SEC, establishing critical limitations on the scope
and duration of such regulatory actions. The Court held that a trading halt could be imposed for
no longer than ten days unless specifically authorized by Congress. This landmark decision
underscored the necessity for regulatory agencies to act strictly within the bounds of their
statutory authority.

280. The Sloan Court found that the SEC violated its own rules by extending a trading
halt beyond the permissible ten-day limit, thereby infringing on shareholders' rights and
disrupting market operations without proper justification. The ruling emphasized two central

principles; 1. regulatory agencies must adhere to statutory and procedural limits in exercising

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their authority and 2. prolonged trading halts require clear congressional authorization to avoid

undue harm to market integrity and investor rights.

Applicability to Plaintiff's Case

281. The Sloan decision is directly relevant to the circumstances surrounding FINRA’s
indefinite U3 halt on [MMTLP or relevant stock]. While Sloan addressed the SEC’s actions, the
principles articulated by the Supreme Court apply equally to F INRA’s regulatory authority. By
imposing an indefinite halt without SEC review or statutory authorization, FINRA has exceeded
the legal limitations outlined in Sloan. The failure to define or justify the “extraordinary event”
allegedly warranting this indefinite halt further compounds the overreach.

282. The Supreme Court’s decision in Sloan establishes a compelling precedent that
regulatory actions—such as trading halts—must be; 1. time-limited and supported by statutory
authority and 2. implemented transparently to ensure protection of shareholder rights and market
stability. -

283. In this case, FINRA’s indefinite U3 halt stands in direct conflict with these
principles. The halt has effectively deprived shareholders of their right to trade, caused
irreparable harm, and undermined market integrity. Like the SEC in Sloan, FINRA’s actions lack
the procedural safeguards and statutory authorization required to justify such an extraordinary
measure.

Reinforcing the Need for Injunctive Relief

284. The Sloan precedent reinforces Plaintiff's request for injunctive relief to restore
trading in MMTLP. FINRA’s actions mirror the regulatory overreach condemned in Sloan,
creating an urgent need for judicial intervention to protect the rights of investors and the integrity

of the market.

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Integration of Sloan with Alpine

285, When viewed in conjunction with the DC Circuit’s recent decision in Alpine
Securities Corp. v. FINRA, Sloan further demonstrates that FINRA’s unchecked regulatory
actions violate established legal principles. Sloan highlights the statutory limits on trading halts,
while Alpine addresses the constitutional deficiencies of FINRA’s lack of government oversight.

Together, these cases present a comprehensive legal basis for the relief sought by Plaintiff.

WHEREFORE
286. For the reasons stated above, Plaintiff seeks:

a) Declaratory Judgment Regarding the Constitutionality of FINRA’s Structure
and Authority: The Plaintiff respectfully requests that this Court declare the structure and
authority of the Financial Industry Regulatory Authority (FINRA) unconstitutional on the
grounds of violating the separation of powers, the Appointments Clause, and the nondelegation
doctrine. The Court is asked to hold that FINRA’s structure, including its private membership-
appointed Board of Governors, its lack of presidential oversight, and its delegated legislative
authority, is inconsistent with the constitutional framework established by Articles I and II of the
U.S. Constitution.

b) Declaratory Relief: The Plaintiff seeks a declaration that the SEC’s delegation
of legislative and quasi-legislative powers to FINRA is unconstitutional under the nondelegation
doctrine, as it provides excessive and unsupervised authority to a private, self-regulatory
organization without meaningful legislative guidance or oversight.

c) Declaration Mandating Structural Reforms to FINRA: The Plaintiff

respectfully requests that the Court declare that FINRA’s governance structure and processes

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must be reformed to comply with the Constitution, including the Appointments Clause, and to
ensure accountability to the executive branch and adherence to legislative limits.

d) Declaration Regarding the Indefinite Nature of the Halt: The Plaintiff seeks a
declaration that FINRA’s indefinite U3 trading halt was inconsistent with statutory requirements
and exceeded its regulatory authority, as defined in SEC v. Sloan and other applicable legal
precedents.

e) Declaration Affirming FINRA’s Overreach: The Plaintiff respectfully requests
that this Court declare that FINRA’s imposition of the U3 trading halt on December 9, 2022, was
unconstitutional, improperly executed, and in violation of shareholders’ rights under federal
securities laws and constitutional principles.

f) Declaratory Judgment on Equal Protection: An order and judgment pursuant to
28 U.S.C. §§ 2201, 2202 declaring that the PSLRA violates the Equal Protection Clause of the
Fifth Amendment by disproportionately burdening small investors and shielding institutional
actors, thereby creating a two-tiered system of justice.

g) Injunction to Prevent Further FINRA Overreach: The Plaintiff respectfully
requests that this Court issue an injunction barring FINRA from imposing indefinite or

improperly justified trading halts in the future without explicit statutory authority and proper
SEC review, in line with the precedents set forth in Alpine Securities Corp. v. FINRA and SEC v.
Sloan. This injunction should also mandate procedural safeguards to ensure FINRA’s
compliance with constitutional and statutory limits.

h) Injunction to Reinstate Trading in MMTLP Shares: The Plaintiff respectfully

requests injunctive relief directing FINRA to reinstate trading in MMTLP shares or to facilitate a

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resolution that allows investors to close their positions and realize the fair value of their holdings,
addressing the irreparable harm caused by the improper U3 halt.

i) Injunction Requiring the Release of Blue Sheets: The Plaintiff respectfully
requests that the Court order the release of Blue Sheet data for MMTLP and MMAT transactions
to provide transparency into the allegations of market manipulation, including synthetic share
creation and naked short selling, and to restore trust in the fairness of the market.

VI. CONCLUSION

287. The Plaintiff, Matthew J. Pease, has brought this action to address systemic failures
in the U.S. financial markets that have harmed retail investors through a combination of
regulatory negligence, manipulative practices, and constitutional violations. At the center of this
case lies FINRA’s indefinite U3 trading halt on MMTLP shares, which deprived investors of
access to their assets without adequate explanation or resolution. This halt exemplifies the
unchecked powers of a self-regulatory organization operating without sufficient oversight,
raising constitutional concerns under the separation of powers, the Appointments Clause, and the
private nondelegation doctrine. Recent legal precedents, including SEC v. Sloan and Alpine
Securities Corp. v. FINRA, underscore the statutory and constitutional violations inherent in

FINRA’s actions.

a) FINRA’s structural deficiencies are compounded by the failures of other
regulatory entities, including the SEC and the DTCC, to fulfill their statutory duties to protect
investors and ensure market integrity. These organizations failed to investigate or remedy
widespread irregularities such as synthetic share creation and naked short selling, which

manipulated the market for MMTLP shares. The Defendants’ inaction enabled institutional

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participants to profit at the expense of retail investors, further undermining confidence in the
fairness and transparency of the markets.

b) The Plaintiff also seeks to highlight the role of corporate leadership at Meta
Materials, Torchlight Energy, and Next Bridge Hydrocarbons, whose failures to address trading
irregularities, reconcile shareholder discrepancies, and ensure accountability exacerbated the
harm suffered by investors. These leaders neglected their fiduciary duties, misrepresented the
financial prospects of their assets, and allowed discrepancies in share reconciliation to persist,
leaving shareholders in a prolonged state of uncertainty and financial distress.

c) The harm caused by these systemic failures is both significant and ongoing.
Retail investors have been denied the ability to trade their shares, reconcile their holdings, or
recover their investments, while institutional participants who engaged in manipulative practices
remain unaccountable. The constitutional and statutory violations identified in this case are
- emblematic of broader governance flaws in the financial markets, which must be addressed to
protect investors and maintain public confidence in the integrity of the system.

d) In light of these failures, the Plaintiff seeks declaratory and inj unctive relief to
restore fairness and transparency to the markets. This includes addressing FINRA’s
unconstitutional governance structure, enforcing statutory limits on trading halts as articulated in
Sloan, and ensuring that private entities acting under delegated authority are subject to
meaningful government oversight, as emphasized in Alpine. These steps are necessary to rectify
the systemic issues that have caused lasting harm to retail investors.

e) This case also demands accountability for the Defendants’ violations of federal
securities laws, antitrust statutes, and fiduciary obligations. The Plaintiff requests compensatory

and punitive damages to redress the financial and emotional harm suffered, as well as systemic

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reforms to prevent future market abuses. The harms detailed herein are not isolated incidents but
indicative of systemic vulnerabilities that require judicial intervention to safeguard the rights of
all investors.

f) The prolonged inaction of regulatory bodies in addressing the U3 halt and
related market irregularities stands in stark contrast to the swift responses seen in other market
events, such as the GameStop trading episode. This disparity highlights the need for equitable
treatment of retail investors and a consistent application of regulatory oversight to uphold market
integrity. Without such reforms, the systemic failures described in this case will continue to
jeopardize public trust in the financial markets.

g) In bringing this action, the Plaintiff seeks not only to recover damages but also
to hold the Defendants accountable for their roles in enabling a scheme of market manipulation,
systemic negligence, and constitutional violations. By addressing these issues, this Court has the
opportunity to restore fairness and transparency to the financial markets, reaffirm the
constitutional principles that govern regulatory authority, and protect the rights of investors

whose trust in the system has been profoundly eroded.

Vil. PRAYER FOR RELIEF

WHEREFORE,
288. Plaintiff prays for judgment in his favor and relief as follows:
a) Declaratory Judgment 1 & Injunctive Relief: Issue a declaration and
corresponding injunctive relief finding that the Private Securities Litigation Reform Act (15
U.S.C. § 78u-4) is unconstitutional as applied to this case, as it unduly restricts access to justice

for retail investors and infringes upon their constitutional rights.

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b) Declaratory Judgment 2 & Injunctive Relief: Issue a declaration and
corresponding injunctive relief challenging the structure and authority of the Financial Industry
Regulatory Authority (FINRA) as unconstitutional, given its lack of adequate governmental
oversight and accountability, which has resulted in improper and prejudicial actions, including
the imposition and handling of the U3 trading halt on MMTLP shares.

c) A declaration that Defendants’ actions and omissions violated federal securities
laws, including Section 10(b) of the Securities Exchange Act (15 U.S.C. § 78)(b)), Rule 10b-5
(17 CFR. § 240.10b-5), and other applicable federal regulations, as well as the Sherman
Antitrust Act (15 U.S.C. §§ 1-2), the Clayton Act (15 U.S.C. §§ 12-27), and fiduciary duties
owed to retail investors.

d) A declaration that FINRA’s U3 trading halt on MMTLP shares, imposed on
December 9, 2022, and lifted on December 13, 2022, was improper, prejudicial, and constituted
a violation of regulatory responsibilities owed to the investing public, thereby causing material
harm to over 65,000 shareholders, including Plaintiff.

e) An order awarding compensatory damages to Plaintiff in an amount to be
determined at trial, including:

i. The loss of value and liquidity of Plaintiff's MMTLP shares resulting
from Defendants’ misconduct.

ii. Damages arising from the suppression of share prices and trading
opportunities caused by synthetic share creation, naked short selling, and the improper U3 halt.

iii. Recovery of Plaintiff's documented financial losses, along with

additional losses sustained from systemic harm to market value, including the unresolved status

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of Plaintiff's MMATQ shares filed in a valid Statement of Interest with the U.S. Bankruptcy
Court, Nevada.

f) An award of compensatory damages, for emotional distress and mental anguish
caused by Defendants’ prolonged misconduct, failure to resolve the U3 halt, and refusal to
provide clarity or remedies for trading irregularities.

g) An order awarding treble damages pursuant to the Sherman Antitrust Act (5
U.S.C. § 15) and the Clayton Act for Defendants’ anticompetitive practices, which restrained
market competition, fostered monopolistic environments, and caused disproportionate harm to
retail investors, including the Plaintiff.

h) An order requiring injunctive relief to ensure market transparency and prevent
similar systemic failures, including:

i. A full audit of all MMTLP and MMAT share transactions, including the
identification and reconciliation of synthetic shares and beneficial ownership records.

ii. The public release of all records, communications, and trading data
related to MMTLP and MMAT shares, including information held by FINRA, DTCC, broker-
dealers, and other involved parties.

iii. A mandate requiring Defendants, including regulatory bodies and
corporate leadership, to implement.and enforce enhanced oversight mechanisms to prevent the
proliferation of synthetic shares, naked short selling, and other manipulative practices.

i) An order requiring the disgorgement of profits wrongfully obtained by
Defendants through the trading of synthetic shares, naked short selling, and related market

manipulation, including unjust enrichment by market makers, broker-dealers, and transfer agents.

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j) An award of punitive damages to deter Defendants and others from engaging in
similar wrongful conduct in the future.

k) An order requiring the Securities and Exchange Commission (SEC) and
Financial Industry Regulatory Authority (FINRA) to:

i. Establish clearer guidelines for regulatory intervention in cases of
market irregularities.

ii, Improve oversight and accountability measures to ensure transparency
in corporate actions, trading halts, and share reconciliations.

1) A declaration that the arbitration agreement entered into with Charles Schwab,
formerly TD Ameritrade, be deemed null and void pursuant to violations of the Sherman
Antitrust Act (15 U.S.C. § 1) and the Clayton Act (15 U.S.C. § 14), as the agreement was tied to
and perpetuates anticompetitive practices and monopolistic behaviors that restrain trade and
suppress competition.

m) An order affirming Plaintiff's entitlement to equitable relief for the market and
procedural irregularities affecting MMTLP shares, including the submission of TD Ameritrade
(Schwab) trade confirmations (sell orders), ranging from $48.00 to $1,500.00 per share, for 5000
shares, as reward for the improper halting of trades intended for December 9 and 12, 2022.

n) An order affirming Plaintiff's entitlement to equitable relief for the market and
procedural irregularities affecting MMAT shares.

o) An award of pre- and post-judgment interest on all compensatory damages to

account for the time value of Plaintiffs losses and to ensure full recovery of the harm caused.

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p) An award of Plaintiffs reasonable costs and expenses incurred in pursuing this
action, including court fees, filing fees, and any costs associated with expert analysis or
testimony.

q) Any such other relief as the Court may deem just, equitable, and proper to

ensure accountability for Defendants’ misconduct and restore trust in U.S. financial markets.

VIII. DEMAND FOR JURY TRIAL

289. The Plaintiff hereby demands a trial by jury for all claims and issues triable as of

right pursuant to Rule 38 of the Federal Rules of Civil Procedure.

Dated:

December 4, 2024 rn ap f lew

Matthew J. Pease, pro se ipso

1 Cobbler Lane

Amherst, NH, 03031

CERTIFICATION OF PLAINTIFF PURSUANT TO FEDERAL SECURITIES LAWS
1, Matthew J. Pease, duly certify and say, as to the claims asserted under the federal securities
laws, that I declare under penalty of perjury that the foregoing is true and correct to the best of

my knowledge and belief.

Executed on Signature: NM wud fa
Vv f ?

DEC ynle — I 20244 Name: Matthew J. Pease

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